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                                   UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                        GALVESTON DIVISION

MILORAD RAICEVIC                    *
                                    *
VERSUS                              *     CIVIL ACTION: 3:15-cv-327
                                    *
WOOD GROUP PSN, INC., ET AL.        *
______________________________________________________________________________

NOTE TO THE HONORABLE COURT: DUE TO A FORMATTING IRREGULARITY, THE
REFERENCE TO ATTORNEY NAMES IN THE SIDE COMMENTS SHOULD BE IGNORED
AS SOME OF THESE REFERENCES FLAG THE COMMENT TO THE WRONG COUNSEL
OR PARTY. THE PARTIES APOLOGIZE FOR THIS IRREGULARITY, BUT THE NUMBER
OF CONTRIBUTORS TO THE DOCUMENT CAUSED THE SOFTWARE TO ESSENTIALLY
LOSE TRACK OF THE SOURCE OF SOME COMMENTS.
THE COMMENTS THEMSELVES IDENTIFY THE SOURCE OF THE COMMENT. TO
EXPLAIN, AFTER THE ATTORNEY’S NAME, IT MIGHT SAY “PLAINTIFF OBJECTS” OR
“DEFENDANTS’ RESPONSE”, OR VICE VERSA. THOSE REFERENCES ARE
APPROPRIATE TO THE WORDS THAT FOLLOW, AND CORRECTLY NOTIFY THE
COURT APPROPRIATELY WHOSE POSITION IS BEING SET FORTH IN THE COMMENT
ITSELF.


                      JOINT REQUESTED JURY CHARGES/INSUTRUCTIONS
                                WITH OBJECTIONS NOTED

AGREED PROPOSED JURY CHARGE NO. 1.1

INSTRUCTIONS FOR THE BEGINNING OF TRIAL

        Members of the jury panel, if you have a cell phone, PDA, Blackberry, smart phone, iPhone
or any other wireless communication device with you, please take it out now and turn it off. Do
not turn it to vibrate or silent; power it down. During jury selection, you must leave it off.

           There are certain rules you must follow while participating in this trial.

          First, you may not communicate with anyone about the case, including your fellow jurors,
until it is time to deliberate. I understand you may want to tell your family, close friends and other
people that you have been called for jury service so that you can explain when you are required to
be in court. You should warn them not to ask you about this case, tell you anything they know or



1
    Pattern Jury Instructions, Civil Cases, U.S. Fifth Circuit District Judges Association (2014) § 1.1.

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think they know about it, or discuss this case in your presence, until after I accept your verdict or
excuse you as a juror.

        Similarly, you must not give any information to anyone by any means about this case. For
example, do not talk face-to-face or use any electronic device or media, such as the telephone, a
cell or smart phone, camera, recording device, Blackberry, PDA, computer, the Internet, any
Internet service, any text or instant messaging service, any Internet chat room, blog, or website
such as Facebook, MySpace, YouTube, or Twitter, or any other way to communicate to anyone
any information about this case until I accept your verdict or until you have been excused as a
juror. This includes any information about the parties, witnesses, participants, claims, evidence, or
anything else related to this case.

       Second, do not speak with anyone in or around the courthouse other than your fellow jurors
or court personnel. Some of the people you encounter may have some connection to the case. If
you were to speak with them, that could create an appearance or raise a suspicion of impropriety.

        Third, do not do any research—on the Internet, in libraries, in books, newspapers,
magazines, or using any other source or method. Do not make any investigation about this case on
your own. Do not visit or view any place discussed in this case and do not use Internet programs
or other devices to search for or view any place discussed in the testimony. Do not in any way
research any information about this case, the law, or the people involved, including the parties, the
wit- nesses, the lawyers, or the judge, until after you have been excused as jurors. If you happen
to see or hear anything touching on this case in the media, turn away and report it to me as soon
as possible.

        These rules protect the parties’ right to have this case decided only on evidence they know
about, that has been presented here in court. If you do any research, investigation or experiment
that we do not know about, or gain any information through improper communications, then your
verdict may be influenced by inaccurate, incomplete or misleading information that has not been
tested by the trial process, which includes the oath to tell the truth and cross-examination. It could
also be unfair to the parties’ right to know what information the jurors are relying on to decide the
case. Each of the parties is entitled to a fair trial by an impartial jury, and you must conduct yourself
so as to maintain the integrity of the trial process. If you decide the case based on information not
presented in court, you will have denied the parties a fair trial in accordance with the rules of this
country and you will have done an injustice. It is very important that you abide by these rules.
Failure to follow these instructions could result in the case having to be retried.




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AGREED PROPOSED JURY CHARGE NO. 2 2

PRELIMINARY INSTRUCTIONS TO THE JURY

MEMBERS OF THE JURY:

         You have now been sworn as the jury to try this case. As the judge, I will decide all
questions of law and procedure. As the jury, you are the judges of the facts. At the end of the trial,
I will instruct you on the rules of law that you must apply to the facts as you find them.

        You may take notes during the trial. Do not allow your note-taking to distract you from
listening to the testimony. Your notes are an aid to your memory. If your memory should later be
different from your notes, you should rely on your memory. Do not be unduly influenced by the
notes of other jurors. A juror's notes are not entitled to any greater weight than each juror's
recollection of the testimony.

        Until this trial is over, do not discuss this case with anyone and do not permit anyone to
discuss this case in your presence. This includes your spouse, children, relatives, friends,
coworkers, and people with whom you commute to court each day. During your jury service, you
must not communicate any information about this case by any means, by conversation or with the
tools of technology. For example, do not talk face-to-face or use any electronic device or media,
such as the telephone, a cell or smart phone, camera, recording device, Black- berry, PDA,
computer, the Internet, any Internet service, any text or instant messaging service, any Internet
chat room, blog, or website such as Facebook, MySpace, YouTube, or Twitter, or any other way
to communicate to anyone any information about this case until I accept your verdict or excuse
you as a juror.

        Do not even discuss the case with the other jurors until the end of the case when you retire
to deliberate. It is unfair to discuss the case before all of the evidence is in, because you may
become an advocate for one side or the other. The parties, the witnesses, the attorneys, and persons
associated with the case are not allowed to communicate with you. And you may not speak with
anyone else in or around the courthouse other than your fellow jurors or court personnel.

         Do not make any independent investigation of this case. You must rely solely on what you
see and hear in this courtroom. Do not try to learn anything about the case from any other source.
In particular, you may not use any electronic device or media, such as a telephone, cell phone,
smartphone, or computer to research any issue touching on this case. Do not go online or read any
newspaper account of this trial or listen to any radio or television newscast about it. Do not visit
or view any place discussed in this case and do not use Internet programs or other devices to search
for or to view any place discussed in the testimony. In sum, you may not research any information



2
    Pattern Jury Instructions, Civil Cases, U.S. Fifth Circuit District Judges Association (2014) §1.2.

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about this case, the law, or the people involved, including the parties, the wit- nesses, the lawyers,
or the judge, until after you have been excused as jurors.

        There are some issues of law or procedure that I must decide that the attorneys and I must
discuss. These issues are not part of what you must decide and they are not properly discussed in
your presence. To avoid having you leave the courtroom and to save time, I may discuss these
issues with the attorneys at the bench, out of your hearing. When I confer with the attorneys at the
bench, please do not listen to what we are discussing. If the discussions require more time, I may
have you leave the courtroom until the lawyers and I resolve the issues. I will try to keep these
interruptions as few and as brief as possible.

       The trial will now begin. Lawyers for each side will make an opening statement. Opening
statements are intended to assist you in understanding the significance of the evidence that will be
presented. The opening statements are not evidence.

       After the opening statements, the plaintiff will present his case through witness testimony
and documentary or other evidence. Next, the defendants will have an opportunity to present their
case. The plaintiff may then present rebuttal evidence.

        After all the evidence is introduced, I will instruct you on the law that applies to this case.
The lawyers will then make closing arguments. Closing arguments are not evidence, but rather the
attorneys' interpretations of what the evidence has shown or not shown. Finally, you will go into
the jury room to deliberate to reach a verdict.

        Keep an open mind during the entire trial. Do not decide the case until you have heard all
of the evidence, my instructions, and the closing arguments.

       It is now time for the opening statements.




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AGREED PROPOSED JURY CHARGE NO. 3 3

FIRST RECESS

         We are about to take our first break in this trial. Remember, until the trial is over, you are
not to discuss this case with anyone, including your fellow jurors. If anyone approaches you and
tries to talk to you about the case, advise me about it immediately. Do not read or listen to any
news reports of the trial or use any technology tools to do independent research. Remember to
keep an open mind until all the evidence has been received. Finally, do not speak with anyone in
or around the courthouse other than your fellow jurors or court personnel.




3
    Pattern Jury Instructions, Civil Cases, U.S. Fifth Circuit District Judges Association (2014) §2.1.

                                                             5
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PROPOSED JURY CHARGE NO. 4

MEMBERS OF THE JURY:

       It is my duty and responsibility to instruct you on the law you are to apply in this case.
The law contained in these instructions is the only law you may follow. It is your duty to follow
what I instruct you the law is, regardless of any opinion that you might have as to what the
law ought to be.4

       If I have given you the impression during the trial that I favor either party, you must
disregard that impression. If I have given you the impression during the trial that I have an
opinion about the facts of this case, you must disregard that impression. You are the sole judges
of the facts of this case. Other than my instructions to you on the law, you should disregard
anything I may have said or done during the trial in arriving at your verdict.5

        You should consider all of the instructions about the law as a whole and regard each
instruction in light of the others, without isolating a particular statement or paragraph.6

        The testimony of the witnesses and other exhibits introduced by the parties constitute
the evidence. The statements of counsel are not evidence; they are only arguments. It is
important for you to distinguish between the arguments of counsel and the evidence on
which those arguments rest. What the lawyers say or do is not evidence. You may, however,
consider their arguments in light of the evidence that has been admitted and determine whether
the evidence admitted in this trial supports the arguments. You must determine the facts from
all the testimony that you have heard and the other evidence submitted. You are the judges of
the facts, but in finding those facts, you must apply the law as I instruct you.7

        You are required by law to decide the case in a fair, impartial, and unbiased manner, based
entirely on the law and on the evidence presented to you in the courtroom. You may not
be influenced by passion, prejudice, or sympathy you might have for the plaintiff or the
defendants in arriving at your verdict.8

       Plaintiff, Milorad Raicevic, has the burden of proving his case by a preponderance of the
evidence. To establish by a preponderance of the evidence means to prove something is more likely
so than not so. If you find that Mr. Raicevic has failed to prove any element of his claim by a
preponderance of the evidence, then he may not recover on that claim.9

       The evidence you are to consider consists of the testimony of the witnesses, the documents
and other exhibits admitted into evidence, and any fair inferences and reasonable conclusions you
can draw from the facts and circumstances that have been proven.10

4
  Pattern Jury Instructions, Civil Cases, U.S. Fifth Circuit District Judges Association (2014) §3.1.
5
  Id.
6
  Id.
7
  Id.
8
  Id.
9
  Id. at 3.2.
10
   Id. at 3.3.

                                                           6
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       Generally speaking, there are two types of evidence. One is direct evidence, such as
testimony of an eyewitness. The other is indirect or circumstantial evidence.
Circumstantial evidence is evidence that proves a fact from which you can logically conclude
another fact exists. As a general rule, the law makes no distinction between direct and
circumstantial evidence, but simply requires that you find the facts from a preponderance
of all the evidence, both direct and circumstantial.11

        The fact that a person brought a lawsuit and is in court seeking damages creates no
inference that the person is entitled to a judgment. Anyone may make a claim and file a lawsuit.             Commented [RM1]: Defendant’s Response. It is entirely
The act of making a claim in a lawsuit, by itself, does not in any way tend to establish that claim          true that anyone can make a claim and file a lawsuit.
                                                                                                             Furthermore, not every suit eventually shown to be
and is not evidence.12
                                                                                                             frivolous can be dismissed by summary judgment or other
                                                                                                             motion practice. This is a specifically approved jury
        Certain charts and summaries have been shown to you solely to help explain or summarize              instruction taken directly from a pattern jury charge
the facts disclosed by the books, records, and other documents that are in evidence. These charts            manual. Plaintiff’s concern about it merely reflects the fact
                                                                                                             that it is particularly apropos in this case where the main
and summaries are not evidence or proof of any facts. You should determine the facts from the                defense contention is Plaintiff’s claimed event simply did
evidence.13                                                                                                  not happen. As such it is even more important that the jury
                                                                                                             understand Plaintiff is given no presumptions.
         Exhibit [specify] is an illustration. It is a party’s model used to describe something involved     Commented [RM2]: Plaintiff objects to this instruction, in
in this trial. If your recollection of the evidence differs from the exhibit, rely on your recollection.14   particular the language “Anyone may make a claim and file
                                                                                                             a lawsuit” as untrue and misleading. There are protections
        You alone are to determine the questions of credibility or truthfulness of the witnesses. In         against frivolous lawsuits and lawsuits brought in bad faith
                                                                                                             or without evidence. The Defendants had the opportunity
weighing the testimony of the witnesses, you may consider the witness's manner and demeanor on               to file motions for dismissal and summary judgment (and
the witness stand, any feelings or interest in the case, or any prejudice or bias about the case, that       Shamrock withdrew its motion for summary judgment after
he or she may have, and the consistency or inconsistency of his or her testimony considered in the           Plaintiff brought forth evidence in response). See also
                                                                                                             Ferreira v. City of Binghamton, 2016 WL 4991600, *15 (N.D.
light of the circumstances. Has the witness been contradicted by other credible evidence? Has he
                                                                                                             NY 2016) (granting unopposed motion in limine as to the
or she made statements at other times and places contrary to those made here on the witness stand?           comment “Anyone Can File A Lawsuit”). Defendant’s
You must give the testimony of each witness the credibility that you think it deserves.15                    response below attempts to argue the merits of the case in
                                                                                                             suggesting this case is frivolous. Defendants fail to note
                                                                                                             that at least one eyewitness has come forward since the
        Even though a witness may be a party to the action and therefore interested in its outcome,
                                                                                                             Defendants stated the fall did not happen and since their
the testimony may be accepted if it is not contradicted by direct evidence or by any inference that          corporate representative denied remembering the alarm
may be drawn from the evidence, if you believe the testimony.16                                              (e.g., third‐party witness Randy Vincent, who remembers
                                                                                                             the alarm, remembers Mr. Raicevic responding to it quickly,
                                                                                                             and saw Mr. Raicevic walking slowly and gingerly
        You are not to decide this case by counting the number of witnesses who have testified on            immediately after). Defendants fail to note their pattern of
the opposing sides. Witness testimony is weighed; witnesses are not counted. The test is not the             not documenting safety issues at the platform. Telling the
relative number of witnesses, but the relative convincing force of the evidence. The testimony of            jury that “Anyone may make a claim and file a lawsuit” is
a single witness is sufficient to prove any fact, even if a greater number of witnesses testified to         not true and is designed to inflame those biased against
                                                                                                             lawsuits and perhaps those who have been sued. Plaintiff is
the contrary, if after considering all of the other evidence, you believe that witness.17                    represented by counsel, and lawsuits may only be brought
                                                                                                             based on sufficient evidence and in good faith, as this one
          In determining the weight to give to the testimony of a witness, consider whether there was        has.

11
   Id.
12
   Id. at 3.6.
13
   Id. at 2.7
14
   Id. at 2.8
15
   Id. at 3.4.
16
   Id.
17
   Id.

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evidence that at some other time the witness said or did something, or failed to say or do something,
that was different from the testimony given at the trial.18                                                            Commented [RM3]: Plaintiff objects to this instruction.
                                                                                                                       The jury does not need and should not be given instruction
                                                                                                                       on how to weigh the credibility of the testimony.
        A simple mistake by a witness does not necessarily mean that the witness did not tell the
truth as he or she remembers it. People may forget some things or remember other things                                Commented [RM4]: Defense Response. Plaintiff’s
inaccurately. If a witness made a misstatement, consider whether that misstatement was an                              objection is without merit. This is a specifically approved
                                                                                                                       jury instruction taken directly from a pattern jury charge
intentional falsehood or simply an innocent mistake. The significance of that may depend on                            manual.
whether it has to do with an important fact or with only an unimportant detail.19
                                                                                                                       Commented [RM5]: Plaintiff objects to this instruction.
                                                                                                                       The jury does not need and should not be given instruction
        Certain testimony has been presented to you through a deposition. A deposition is the                          on how to weigh the credibility of the testimony.
sworn, recorded answers to questions a witness was asked in advance of the trial. Under some
                                                                                                                       Commented [RM6]: Defense Response. Plaintiff’s
circumstances, if a witness cannot be present to testify from the witness stand, that witness's                        objection is without merit. This is a specifically approved
testimony may be presented, under oath, in the form of a deposition. Sometime before this trial,                       jury instruction taken directly from a pattern jury charge
attorneys representing the parties in this case questioned this witness under oath. A court reporter                   manual.
was present and recorded the testimony. The questions and answers have been read to you today.
This deposition testimony is entitled to the same consideration and is to be judged by you as to
credibility and weighed and otherwise considered by you in the same way as if the witness had
been present and had testified from the witness stand in court.20

         When knowledge of technical subject matter may be helpful to the jury, a person who has
special training or experience in that technical field is permitted to state his or her opinion on those
technical matters. However, you are not required to accept that opinion. As with any other witness,
it is up to you to decide whether to rely on it.21

        In determining the degree of credibility that can be afforded to Mr. Raicevic’s testimony,
you are entitled to take into consideration the fact that he is the Plaintiff and that he has a very
keen personal interest in the result of your verdict. You may also consider the importance to the
Plaintiff, Mr. Raicevic, of the outcome of the trial and of his motive for testifying as he did.22

       When testimony or an exhibit is admitted for a limited purpose, you may consider that
testimony or exhibit only for the specific limited purpose for which it was admitted.23

        It is now your duty to deliberate and to consult with one another in an effort to reach a
verdict. Each of you must decide the case for yourself, but only after an impartial consideration of
the evidence with your fellow jurors. During your deliberations, do not hesitate to re-examine your
own opinions and change your mind if you are convinced that you were wrong. But do not give
up on your honest beliefs because the other jurors think differently, or just to finish the case.24

         Remember at all times, you are the judges of the facts. You have been allowed to take notes

18
   Id. at 2.11.
19
   Id.
20
   Id. at 2.13.
21
   Id. at 3.5.
22
   §3.4, “Witnesses”, Pattern Jury Instructions, Civil Cases, U.S. Fifth Circuit District Judges Association (2014);
United States v. Haney, 429 F.2d 1282 (5th Cir. 1970).
23
   Id. at 2.6
24
   Id. at 3.7.

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during this trial. Any notes that you took during this trial are only aids to memory. If your memory
differs from your notes, you should rely on your memory and not on the notes. The notes are not
evidence. If you did not take notes, rely on your independent recollection of the evidence and do
not be unduly influenced by the notes of other jurors. Notes are not entitled to greater weight than
the recollection or impression of each juror about the testimony.25

       When you go into the jury room to deliberate, you may take with you a copy of this charge,
the exhibits that I have admitted into evidence, and your notes. You must select a presiding juror
to guide you in your deliberations and to speak for you here in the courtroom.26

        Your verdict must be unanimous. After you have reached a verdict, your presiding juror
must fill out the answers to the written questions on the verdict form and sign and date it. After
you have concluded your service and I have discharged the jury, you are not required to talk with
anyone about the case.27

        If you need to communicate with me during your deliberations, the presiding juror should
write the inquiry and give it to the court security officer. After consulting with the attorneys, I will
respond either in writing or by meeting with you in the courtroom. Keep in mind, however, that
you must never disclose to anyone, not even to me, your numerical division on any question.28

         You may now proceed to the jury room to begin your deliberations.29




25
   Id.
26
   Id.
27
   Id.
28
   Id.
29
   Id.

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PLAINTIFF’S PROPOSED JURY INSTRUCTION NO. 1: 30                                                                  Commented [JS7]: Plaintiff’s Response: Plaintiff’s
                                                                                                                 Complaint clearly pleads negligence and goes beyond the
                                                                                                                 defective condition of the platform, including the failing to
     The basic law in Louisiana on this kind of case states that “every act whatever of man that
                                                                                                                 (a) exercise reasonable care to ensure work was done
causes damage to another obliges him by whose fault it happened to repair it.” The word “fault”                  safely, (b) warn, (c) train, (d) supervise, and (e) maintain a
is a key word. “Fault” means acting as you should not have acted or failing to do something which                safe work environment, and references Defendant’s actions
you should have done. The law regards those actions as being below the standard which applies to                 and inactions. See generally Dkt. 1 para. 9‐17. Cases
                                                                                                                 applying Louisiana’s general negligence statutes (Article
the defendant's activities.31                                                                                    2315 and/or 2316) on their own or in addition to strict
                                                                                                                 liability defect statutes (e.g., Article 2317, referred by
      The law also provides that:                                                                                Defendants as a “defective thing” or “premises” statute) in
                                                                                                                 offshore platform injury cases against owners and operators
          “Every person is responsible for the damage he occasions not merely by his act, but by his             are legion. See Dupre v. Chevron USA Inc., 20 F.3d 154, 156
                                                                                                                 (5th Cir. 1994); Friou v. Phillips Petroleum Co., 948 F.2d 972,
          negligence, his imprudence, or his want of skill.”32
                                                                                                                 975 (5th Cir. 1991); McIlwain v. Placid Oil Co., 472 F.2d 248,
                                                                                                                 250 (5th Cir. 1973); Evans v. Chevron Oil Co., 438 F.Supp.
      The law further provides that:                                                                             1097, 1102‐1103 (E.D. La. 1977); Tajonera v. Black Elk
                                                                                                                 Energy Offshore Operations LLC, 2015 WL 6758258, *3, *5
          “Masters and employers are answerable for the damage occasioned by their servants and                  (E.D. La. 2015).
          overseers, in the exercise of the functions in which they are employed.”33
                                                                                                                 Commented [RM8]: Defendants object to this instruction
                                                                                                                 in its entirety as Plaintiff’s pleadings do not support same
    The standard which the law applies to the defendant’s actions will change according to the
                                                                                                                 and only support an instruction under 2317.1 as reflected by
surrounding circumstances. These standards are sometimes set by the legislature in statutes, and                 Defendant’s proposed Jury Instruction No. 1. The law
sometimes they are set by the courts. At the end of the trial, I will tell you the standards which               applicable to a situation where damage is caused by a
apply to the defendant’s conduct in this particular suit, and you will have to accept those standards.           defective thing is found in La.Civ.Code art. 2317.1. See
                                                                                                                 Salazar v. Wood Group Prod. Services, Inc., 6:15‐CV‐00939,
Your job will then be to decide whether the plaintiff has proved that it is more likely true than not
                                                                                                                 2017 WL 1129870, at *3 (W.D. La. Mar. 24, 2017);
true that the defendant’s actions fell below those standards. In legal terms, that would mean that               Trautmann v. Fitzgerald, 113 So. 3d 429, 432 (La. App. 3 Cir.
the defendant is “at fault.” In this particular case, the plaintiff says that the defendant has                  2013), writ denied, 118 So. 3d 1089 (La. 2013) and their
committed the kind of fault that the law calls “negligence.” But this is only one of the parts of                progeny.
Milorad Raicevic’s case, and in order to succeed, Milorad Raicevic must establish all of the                     Commented [BDA9]: Defendants object to this proposed
essential parts of his case. Questions addressed to all of these parts of the case will be given to you          jury instruction because it presumes that article 2316, the
in the “verdict form” that you will get at the end of these instructions and that you will take with             general negligence statute, applies when this case is
                                                                                                                 governed by article 2317.1, the premises liability statute.
you to fill out as a part of your deliberations. The other parts of the Milorad Raicevic 's case are:34
                                                                                                                 Commented [JS10]: Plaintiff’s Response: Plaintiff’s
      (1) that the injury Milorad Raicevic suffered was, in fact, caused by the conduct of the defendant;        Complaint clearly pleads negligence and goes beyond the
     35
and                                                                                                              defective condition of the platform, including the failing to
                                                                                                                 (a) exercise reasonable care to ensure work was done
      (2) that there was actual damage to the Milorad Raicevic's person or his property.36                       safely, (b) warn, (c) train, (d) supervise, and (e) maintain a
                                                                                                                 safe work environment, and references Defendant’s actions
                                                                                                                 and inactions. See generally Dkt. 1 para. 9‐17. Cases
    The plaintiff must establish that all of these essential parts of his case are more likely true than         applying Louisiana’s general negligence statutes (Article
not true. Questions addressed to all of these parts of the case will be given to you in the “verdict             2315 and/or 2316) on their own or in addition to strict
                                                                                                                 liability defect statutes (e.g., Article 2317, referred by
                                                                                                                 Defendants as a “defective thing” or “premises” statute) in
30
   Supreme Court of Louisiana Rule 44 prescribing mandatory instructions, effective October 14, 2014; see also   offshore platform injury cases against owners and operators
Louisiana Civil Code Article 2315. Supreme Court of Louisiana Rule 44 can be found at                            are legion. See Dupre v. Chevron USA Inc., 20 F.3d 154, 156
https://www.lasc.org/rules/supreme/RuleXLIV.asp                                                                  (5th Cir. 1994); Friou v. Phillips Petroleum Co., 948 F.2d 972,
31
   Supreme Court of Louisiana Rule 44 prescribing mandatory instructions, effective October 14, 2014             975 (5th Cir. 1991); McIlwain v. Placid Oil Co., 472 F.2d 248,
32
   Louisiana Civil Code Article 2316                                                                             250 (5th Cir. 1973); Evans v. Chevron Oil Co., 438 F.Supp.
33
   Louisiana Civil Code Article 2320                                                                             1097, 1102‐1103 (E.D. La. 1977); Tajonera v. Black Elk
34
   Supreme Court of Louisiana Rule 44 prescribing mandatory instructions, effective October 14, 2014             Energy Offshore Operations LLC, 2015 WL 6758258, *3, *5
35                                                                                                               (E.D. La. 2015).
   Supreme Court of Louisiana Rule 44 prescribing mandatory instructions, effective October 14, 2014
36
   Supreme Court of Louisiana Rule 44 prescribing mandatory instructions, effective October 14, 2014

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form” that you will receive at the end of the case and that you will take with you to fill out as a
part of your deliberations.37

    When I say that the plaintiff has to prove that the defendant’s actions were a cause of his injury,
I don’t mean that the law recognizes only one cause of an injury.38

    You will have to decide, as to each defendant, whether his conduct was a contributing factor
in causing this incident. To make this determination, you should consider whether it is more likely
than not that the defendant’s conduct created a force or series of forces which remain in continuous
and active operation up to the time of the harm.39

    The next part of the plaintiff’s case that you’ll have to consider is whether the defendant’s
actions were below the standard required under the law for his actions. In this case, the basic
standard is that the defendant should have acted as a reasonably prudent person would have acted
under the same or similar circumstances. The standard of care is not that of an extraordinarily
cautious individual or an exceptionally skilled person, but rather that of a reasonably prudent
person acting in the same or similar circumstances.40

   A reasonably prudent person will avoid creating an unreasonable risk of harm. In deciding
whether the defendant violated this standard of conduct, you should weigh the likelihood that
someone might have been injured by his conduct and the seriousness of that injury if it should
occur against the importance to the community of what the defendant was doing and the
advisability of the way he was doing it under the circumstances.41

    A reasonably prudent person will normally obey the statutes that apply to his conduct. But in
exceptional circumstances, even a violation of a statute might nonetheless be reasonable conduct.
You will have to consider, in light of all the circumstances, whether a reasonably prudent person
in the defendant’s situation would have violated the statute.42

   Federal law further provides that owners and operators conducting oil and gas exploration
development on the Outer Continental Shelf where the MP153B was must protect health, safety,
property, and the environment by:
        (1) Performing all operations in a safe and workmanlike manner; (2) Maintaining all
        equipment and work areas in a safe condition; (3) Utilizing recognized engineering
        practices that reduce risks to the lowest level practicable when conducting design,
        fabrication, installation, operation, inspection, repair, and maintenance activities; and (4)
        Complying with all lease, plan, and permit terms and conditions.43


37
   Supreme Court of Louisiana Rule 44 prescribing mandatory instructions, effective October 14, 2014
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   Supreme Court of Louisiana Rule 44 prescribing mandatory instructions, effective October 14, 2014
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   Supreme Court of Louisiana Rule 44 prescribing mandatory instructions, effective October 14, 2014
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   Supreme Court of Louisiana Rule 44 prescribing mandatory instructions, effective October 14, 2014
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   Supreme Court of Louisiana Rule 44 prescribing mandatory instructions, effective October 14, 2014
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   Supreme Court of Louisiana Rule 44 prescribing mandatory instructions, effective October 14, 2014
43
   30 C.F.R. § 250.107; 30 C.F.R. § 250.101; 30 C.F.R. § 250.105

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   Federal law further provides that owners and operators conducting oil and gas exploration           Commented [BDA11]: Defendants object to the
development on the Outer Continental Shelf:                                                            submission of these statutes on multiple grounds. First,
                                                                                                       there is no La. Civ. Jury instruction that suggests that these
         [M[ust immediately control, remove, or otherwise correct any hazardous oil and gas            statutes are proper in a jury charge, nor is there any case
                                                                                                       law. In fact, the case law holds that an appropriate jury
        accumulation or other health, safety, or fire hazard.44                                        instruction as to governmental regulations is as follows,
                                                                                                       “[c]ompliance with government standards is but one
   Federal law further provides that owners, operators, and contractors working on the Outer           element or item of proof of whether or not a [ person or
Continental Shelf must comply with the following rules:                                                entity breached a duty.]” Abadie v. Metropolitan Life Ins.
                                                                                                       Co., 784 So. 2d 46, 49 (La.App. 5th Cir. 3/28/01). This
        Persons responsible for actual operations, including owners, operators, contractors, and       comports with Louisiana law that statutory duties are not
                                                                                                       definitive of civil liability but merely guidelines. Id. Second,
        subcontractors, shall ensure that those operations subject to their control are conducted in   these statutes do not apply to offshore platforms. Third,
        compliance with workplace safety and health regulations of this part and, in addition, free    these statutes do not apply to independent contractor
        from recognized hazards.                                                                       operators Wood Group, Island Operating, or Shamrock as a
                                                                                                       matter of law. See United States v. Moss, 2017 WL 4273427
        …                                                                                              * 6‐7, ___ F.3d __ (5th Cir. 9/27/17); (“BSEE rejected this
                                                                                                       comment and its proposed language in favor of a definition
                                                                                                       limited to lessee/permittee/designated operator
        All staging, platforms, and other working surfaces and all ramps, stairways, and other
                                                                                                       responsibility.”); United States v. Black Elk Energy Offshore
        walkways must be kept clear of portable tools, materials, and equipment not in use and be      Operations, LLC, 2016 WL 1458925 * 6 (E. D. La. 4/14/16)
        promptly cleared of substances which create a tripping or slipping hazard.45                   (“For that reason, it is logical that the drafters of OCSLA may
                                                                                                       have intended to treat contractors differently from those
   Federal law further provides that those exploring for natural resources on the Outer Continental    entities that contracted with the government for the right
                                                                                                       to develop resources on the OCS. Even BOEM has made
Shelf must:                                                                                            public comments to this effect, stating in a response to the
                                                                                                       comments on a proposed rule that it “does not regulate
        conduct all exploration, testing, development, and production activities and other             contractors; we regulate operators.). Similarly, in the
        operations in a safe and workmanlike manner and shall maintain equipment in a manner           context of Civil cases, in Island Operating Co. v. Jewell, No.
        which assures the protection of the lease and its improvements, the health and safety of all   6:16‐cv‐00145, 2016 WL 7436665, 2016 U.S. Dist. LEXIS
                                                                                                       178071 (W.D. La. Dec. 23, 2016) the Court held OCSLA did    ... [1]
        persons, and the conservation of property, and the environment.”46
                                                                                                       Commented [RM12]: Plaintiff’s Response: These federal
                                                                                                       statutes expressly provide standards applicable to offshore
                                                                                                       platforms in the Outer Continental Shelf, and to owners and
                                                                                                       operators of such platforms, which includes the Defendants.
                                                                                                       See separate Memorandum Regarding the Applicability of
                                                                                                       Federal Statutes on the Issue of Negligence. Further, the
                                                                                                       Fifth Circuit and Louisiana Supreme Court have expressly
                                                                                                       held that federal regulations can be utilized to weigh
                                                                                                       whether conduct was reasonable. See separate
                                                                                                       Memorandum Regarding the Applicability of Federal
                                                                                                       Statutes on the Issue of Negligence.

                                                                                                       The Moss and Black Elk line of cases cited by Defendants
                                                                                                       relate to whether contractors may be held jointly and
                                                                                                       severally liable for criminal charges for violating certain
                                                                                                       federal statutes. See, e.g., Moss, 2017 WL 4273427 at *5
                                                                                                       (“This provision dictates the obligations of leaseholders and
                                                                                                       designated operators rather than the criminal liability of
                                                                                                       contractors. Its text refers to those parties who are ‘jointly
                                                                                                       and severally responsible,’ a term of art reserved for civil
                                                                                                       rather than criminal liability….The government cites no
                                                                                                       cases demonstrating support for joint and several criminal
                                                                                                       liability.”) (emphasis in original)(citing authorities). That is
                                                                                                       not the issue here.
44
   30 C.F.R. § 250.107; 30 C.F.R. § 250.101; 30 C.F.R. § 250.105
45
   33 C.F.R. § 142.1; 33 C.F.R. § 142.4(b); 33 C.F.R. § 142.84                                         The Moss and Black Elk line of cases does not address the
46
   30 C.F.R. § 282.1; 30 C.F.R. § 282.3; 30 C.F.R. § 282.27                                                                                                      ... [2]
                                                                                                       regulations’ applicability to safe work, but rather deal only

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DEFENDANTS’ PROPOSED JURY INSTRUCTION NO 1:                                                             Commented [JS13]: Plaintiff’s Response: This instruction
                                                                                                        can only be given in addition to Plaintiff’s Proposed Jury
                                                                                                        Instruction No. 1. Plaintiff’s Complaint clearly pleads
         The law applicable to Plaintiff’s claim depends on the nature of that claim. This is a suit
                                                                                                        negligence and goes beyond the defective condition of the
seeking damages for injury caused by the act of another. Under Louisiana’s Civil Code such an           platform, including the failing to (a) exercise reasonable
act is called an offense or quasi-offense and the suit is generally known as a tort suit.               care to ensure work was done safely, (b) warn, (c) train, (d)
                                                                                                        supervise, and (e) maintain a safe work environment, and
                                                                                                        references Defendants’ actions and inactions. See generally
       In this case, the activity in question is the custody of a thing, namely the VRA compressor      Dkt. 1 para. 9‐17. Cases applying Louisiana’s general
on the Main Pass 153B platform (“Compressor”) which Plaintiff claims was in the custody of the          negligence statutes (Article 2315 and/or 2316) on their own
Defendant(s) and as to which Plaintiff claims the Defendant(s) knew or should have known of the         or in addition to strict liability defect statutes (e.g., Article
presence of a defect that caused harm to the Plaintiff. The Civil Code, in Articles 2317 and 2317.1,    2317, referred by Defendants as a “defective thing” or
                                                                                                        “premises” statute) in offshore platform injury cases against
provides a standard applicable to this activity:                                                        owners and operators are legion. See Dupre v. Chevron USA
                                                                                                        Inc., 20 F.3d 154, 156 (5th Cir. 1994); Friou v. Phillips
           We are responsible, not only for the damage occasioned by our own act, but for that which    Petroleum Co., 948 F.2d 972, 975 (5th Cir. 1991); McIlwain
           is caused by the act of persons for whom we are answerable, or of the things which we        v. Placid Oil Co., 472 F.2d 248, 250 (5th Cir. 1973); Evans v.
                                                                                                        Chevron Oil Co., 438 F.Supp. 1097, 1102‐1103 (E.D. La.
           have in our custody.                                                                         1977); Tajonera v. Black Elk Energy Offshore Operations LLC,
                                                                                                        2015 WL 6758258, *3, *5 (E.D. La. 2015).
        The owner(s) or custodian(s) of a thing is(are) answerable for damage occasioned by its
                                                                                                        Commented [RM14]: Defendants believe this instruction
ruin, vice or defect, only upon a showing that he knew or, in the exercise of reasonable care, should   should be used in lieu of Plaintiff’s Proposed Jury Instruction
have known of the ruin, vice or defect which caused the damage, that the damage could have been         No. 1 because Plaintiff’s pleadings cannot support liability
prevented by the exercise of reasonable care, and that he failed to exercise such reasonable care.      outside of Article 2317 and 2317.1. The law applicable to a
                                                                                                        situation where damage is caused by a defective thing is
                                                                                                        found in La.Civ.Code art. 2317.1. See Salazar v. Wood
           Under this standard, Plaintiff must prove that:                                              Group Prod. Services, Inc., 6:15‐CV‐00939, 2017 WL
                                                                                                        1129870, at *3 (W.D. La. Mar. 24, 2017); Trautmann v.
           (a) The thing in question was in the custody of the Defendant(s);                            Fitzgerald, 113 So. 3d 429, 432 (La. App. 3 Cir. 2013), writ
                                                                                                        denied, 118 So. 3d 1089 (La. 2013) and their progeny.
           (b) The thing in question was defective, i.e., that it posed an unreasonable risk of harm;
           (c) The Defendant(s) knew or, in the exercise of reasonable care, should have known of
               this defect;                                                                             Commented [JS15]: Plaitniff’s Note: Since this
                                                                                                        instruction needs to be given in addition to Plaintiff’s
           (d) The damage could have been prevented by the exercise of reasonable care, and the         Proposed Jury Instruction No. 1, this language is redundant
               Defendant(s) failed to exercise such reasonable care; and                                and need not be repeated again.
           (e) He was damaged as a result of this defect.                                               Commented [JS16]: Plaintiff’s Note: Since this
                                                                                                        instruction need to be given in addition to Plaintiff’s
        If Plaintiff proves these five things by a preponderance of the evidence, the person(s) in      Proposed Jury Instruction No. 1, this highlighted phrase
custody of the thing in question can escape liability only if he shows the harm was caused solely       should read “…the activity in question is also the custody of
                                                                                                        a thing…”
by the fault of the victim, by the fault of the third person, or by an irresponsible force.47
                                                                                                        Commented [JS17]: Plaintiff’s Object: The thing is not
                                                                                                        just the VRA Compressor, rather, it is the platform.
        When I say that the thing in question had to be in the custody of the Defendant(s), I mean
either that he was the owner of it, or was in a position to exercise supervision or control over it,    Commented [RM18]: Plaintiff’s Note: This “not only”
                                                                                                        language from Article 2317 shows why Articles 2315, 2316
and to draw benefit from it. 48                                                                         and 2317 are jointly applicable and not‐exclusive remedies.
                                                                                                        This language demonstrates that parties are liable for their
        When I say that a defect in a thing creates an unreasonable risk of harm to others, I mean      own conduct, and are also liable for things in their custody.
that the likelihood that harm might occur and the seriousness of such harm if it did happen
                                                                                                        Commented [RM19]: Defendants’ response. The law
outweighs the importance to society of the custody of the thing and the way the owner(s) or             applicable to a situation where damage is caused by a
                                                                                                        defective thing is found in La.Civ.Code art. 2317.1. See
                                                                                                        Salazar v. Wood Group Prod. Services, Inc., 6:15‐CV‐00939,
47                                                                                                      2017 WL 1129870, at *3 (W.D. La. Mar. 24, 2017);
     18 La. Civ. L. Treatise, Civil Jury Instructions § 6:1 (3d ed. 2016).
48
     18 La. Civ. L. Treatise, Civil Jury Instructions § 6:2 (3d ed. 2016).                              Trautmann v. Fitzgerald, 113 So. 3d 429, 432 (La. App. 3 Cir.
                                                                                                        2013), writ denied, 118 So. 3d 1089 (La. 2013) and their
                                                                                                        progeny.

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custodian(s) has(have) chosen to maintain the thing under the circumstances. This means that you
are to weigh the magnitude of the possible harm against the utility of custody of the thing under
all the prevailing circumstances.49
        I've told you that in deciding whether the thing presented an unreasonable risk of harm,
you must balance the likelihood and severity of the harm against the utility of the Defendant’s(s’)
ownership and maintenance of the thing. In making this balance, you should consider the utility of
the entire thing, and not merely the utility of the condition or area of the thing which may have
caused the harm. For example, a street will have utility, but a pothole in the street will not.

        In determining the likelihood of harm in your deliberations, you should consider whether
plaintiff is or should be familiar with the risk of harm inherent in the thing, even prior to his
injury.50

       In deciding the utility of the ownership of the thing in question, and in particular the burden
on the owner to take adequate precautions, you should consider the burden of taking such
precautions in all similar situations, and not simply the burden of such precautions at the specific
time and place of the accident.51                                                                        Commented [NM20]: Defendants have omitted this
                                                                                                         sequential part from the Louisiana Pattern Jury Charge, but
        The fact that a thing has a “flaw” or presents a hazard does not necessarily mean that it        it should be included. In response to Defendant’s objection,
                                                                                                         there is nothing in Article 2317.1 which warrants excluding
creates an unreasonable risk of harm. Plaintiff has to prove that there was an unreasonable risk of      this instruction.
harm, according to the principles that I have explained to you.52                                        Commented [RM21]: Defendants object to this
                                                                                                         instruction as unnecessary after the adoption of Article
        One of the defenses which a person in custody of a thing which poses an unreasonable risk        2317.1.
of harm can raise is that the injured person was himself at fault and thereby helped cause his own
injury. If you conclude that the Plaintiff's conduct in this incident was below the standard of
behavior we would normally expect of a reasonably prudent person and that his conduct helped to
cause his injury, then you must assign a percentage of responsibility to the Plaintiff according to
the instructions that I will give you.
      The Defendant(s) has(have) to prove this defense and has(have) to convince you by a
preponderance of the evidence that the Plaintiff acted in the manner I have just described.
       If the Defendant(s) do(es) prove that, then you should allocate responsibility in this matter
between the Plaintiff and the Defendant(s) by comparing the causal effect of Plaintiff's conduct
with the causal effect of Defendant's(s’) activity or thing for which he is (they are) responsible.
The percentages of responsibility should be determined on the basis of the extent to which each of
them contributed to the damages which Plaintiff suffered. In other words, what percentage of




49
   18 La. Civ. L. Treatise, Civil Jury Instructions § 6:4 (3d ed. 2016).
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   18 La. Civ. L. Treatise, Civil Jury Instructions § 6:7 (3d ed. 2016).
51
   18 La. Civ. L. Treatise, Civil Jury Instructions § 6:8 (3d ed. 2016).
52
   18 La. Civ. L. Treatise, Civil Jury Instructions § 6:9 (3d ed. 2016).


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Plaintiff's injuries were caused by his own conduct and what percentage was caused by defendant's
activity or the thing of which he had custody?53
       Because the Plaintiff was a person engaged to repair the problem, you may also consider,
in your determination of whether the risk presented was unreasonable, some factors particularly
pertinent to his status and his work, such as the knowledge that he had about the problem, how
reasonable it was to assume that he was aware of the particular risks presented, his ability to
minimize the risks, and the incentive of the owner to repair the problem.54                                          Commented [RM22]: Plaintiff’s Objection: Plaintiff was
                                                                                                                     not engaged to repair the problem and in fact was expressly
        The failure to warn a person of a danger which he himself knows of, or should know of,                       told not to. There is no evidentiary or legal basis for this
considering his training, experience, and intelligence, does not constitute negligence. The                          submission. The Defendants have improperly omitted (at
                                                                                                                     least in the 10/11/2017 draft circulated) the first paragraph
Defendant(s) are entitled to assume that the Plaintiff would use ordinary care for his own safety.                   from 6:13 which states, “…which plaintiff claims presented
Thus, the Defendant(s) had no duty to warn Plaintiff of an obvious danger, or one which became                       an unreasonable risk of harm while he was repairing it.” 18
obvious, or which should have become obvious to a person exercising ordinary care under the                          La. Civ. L. Treatise, Civil Jury Instructions § 6:10 (3d ed.
circumstances. The obviousness and apparentness of a potentially dangerous condition are relevant                    2016). Plaintiff does not contend he was injured while
                                                                                                                     doing repairs. This is an improper and misleading edited
factors to be considered under Louisiana’s duty-risk analysis. If you find that the facts of this case               instruction that does not apply in this case.
show that the condition complained of by Plaintiff should be obvious to all, the condition may not
                                                                                                                     Commented [RM23]: Defendants’ Response. Plaintiff’s
be unreasonably dangerous and the Defendant(s) may owe no legal duty to the Plaintiff.55                             assertion is based entirely on his theory of the case.
                                                                                                                     Defendants deny he was told not to repair the problem, that
                                                                                                                     the problem as claimed by Plaintiff even existed, and to the
                                                                                                                     extent any problem did exist Plaintiff himself repaired it.
                                                                                                                     The law applicable to a situation where damage is caused by
                                                                                                                     a defective thing is found in La.Civ.Code art. 2317.1. See
                                                                                                                     Salazar v. Wood Group Prod. Services, Inc., 6:15‐CV‐00939,
                                                                                                                     2017 WL 1129870, at *3 (W.D. La. Mar. 24, 2017);
                                                                                                                     Trautmann v. Fitzgerald, 113 So. 3d 429, 432 (La. App. 3 Cir.
                                                                                                                     2013), writ denied, 118 So. 3d 1089 (La. 2013) and their
                                                                                                                     progeny.
                                                                                                                     Commented [RM24]: Plaintiff objects. This is pure
                                                                                                                     argument cobbled together from selectively chose and fact‐
                                                                                                                     specific cases primarily from the 1970s, 1980s, and 1990s,
                                                                                                                     and not a proper jury instruction. Defendants cite no
                                                                                                                     authority for submitting this as an instruction.
                                                                                                                     Commented [RM25]: Defendants’ Response. The
                                                                                                                     authority relied upon is cited in the footnotes and supports
                                                                                                                     the inclusion of this instruction.




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  18 La. Civ. L. Treatise, Civil Jury Instructions § 6:10 (3d ed. 2016).
54
  18 La. Civ. L. Treatise, Civil Jury Instructions § 6:13 (3d ed. 2016).
55
  Marin v. Myers, 665 F.2d 57 (4th Cir. 1981), cert. denied, 456 U.S. 906, 102 S.Ct. 1752 (1982); Shelton v. Aetna
Cas. & Sur. Co., 334 So.2d 406 (La. 1976); USF&G v. Hi-Tower Concrete Pumnina, 574 So.2d 424, 435-36 (La.
App. 3d. Cir.), writ denied, 578 So.2d 136, 137 (La. 1991); Stewart v. Dixilyn-Field Drilling, 552 So.2d 710, 713
(La. App. 3d Cir. 1989); Pitre, 673 So.2d at 591 (citing Soccoro v. City of New Orleans, 579 So.2d 931, 942 (La.
1991), and Murray v. Ramada Inns, Inc., 521 So.2d 1123, 1137 (La. 1988)).

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PLAINTIFF’S PROPOSED JURY INSTRUCTION NO. 2:56

        The plaintiff has the burden of proving the following elements by a preponderance of the
evidence, which means that the facts the plaintiff is seeking to prove are more likely true than not
true. He has to demonstrate:57

        (1) that the injury which he says he suffered was caused in whole or in part by the
        conduct of the defendant;58

        (2) that the conduct of the defendant was below the standards which I have told you are
        applicable to the defendant's conduct; and59

        (3) that there was damage to the plaintiff's person or his property.60

     If you believe that the plaintiff has established that these three elements are more likely true
than not true, then the plaintiff is entitled to recover and you should return a verdict for the plaintiff.
If the plaintiff has failed to establish that these three elements of his case are more likely true than
not true, then you should return a verdict for the defendant.61
    If the defendant contends that the plaintiff was at fault as well and his fault contributed to his
own injury, then the defendant must persuade you that it is more likely true than not true that the
plaintiff was at fault.62
    You can assign any percentage of fault to the plaintiff or to any or all of the defendants that
you want, but the total of all of the percentages must be 100%. If you're persuaded by the
defendant's evidence that the only reason the plaintiff was injured was because of the plaintiff's
own sub-standard conduct, you may return a verdict for the defendant in response to the questions
on the verdict form by assigning 100% fault to the plaintiff. If the defendant does not persuade you
that the plaintiff was at fault and the plaintiff has otherwise proved his case as I have described to
you, then you should return a verdict for the plaintiff without assigning any percentage of fault to
the plaintiff.63
   If you decide to return a verdict for the plaintiff, then you should award an appropriate amount
of money to the plaintiff according to the instructions which I have given you on the subject of
damages.64
    You may not decide on a percentage of fault or an amount of damages by agreeing in advance
to an average of various amounts suggested by individual jurors. You must reach these conclusions

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   Supreme Court of Louisiana Rule 44 prescribing mandatory instructions, effective October 14, 2014
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   Supreme Court of Louisiana Rule 44 prescribing mandatory instructions, effective October 14, 2014
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   Supreme Court of Louisiana Rule 44 prescribing mandatory instructions, effective October 14, 2014
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   Supreme Court of Louisiana Rule 44 prescribing mandatory instructions, effective October 14, 2014
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   Supreme Court of Louisiana Rule 44 prescribing mandatory instructions, effective October 14, 2014
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   Supreme Court of Louisiana Rule 44 prescribing mandatory instructions, effective October 14, 2014
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   Supreme Court of Louisiana Rule 44 prescribing mandatory instructions, effective October 14, 2014
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   Supreme Court of Louisiana Rule 44 prescribing mandatory instructions, effective October 14, 2014
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by your own independent consideration and judgment. All of you must ultimately agree on the
percentage or the amount in question, or on a denial of an award altogether.65




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     Supreme Court of Louisiana Rule 44 prescribing mandatory instructions, effective October 14, 2014

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DEFENDANTS’ PROPOSED JURY INSTRUCTION NO. 2:

         If you decide that the Plaintiff has established the first two elements of his case, then you
must decide whether the Defendant(s) has(have) proved the plaintiff has failed to conduct himself
in accordance with the standard expected of him, and has thereby contributed to his own injury. [It
is the law of Louisiana that the recovery of an injured person who has contributed to his own injury
by his own sub-standard conduct must be reduced by the percentage of fault attributable to him.]         Commented [RM26]: Plaintiff objects. This language is
                                                                                                         superseded by Supreme Court of Louisiana Rule 44, and it is
        In this case, the standard applicable to the Plaintiff’s conduct is the requirement that he      incorrect to refer to 18 La. Civ. L. Treatise as the pattern jury
exercise that degree of care which we might reasonably expect a person to exercise for his own           charge. See Plaintiff’s Proposed Jury Instruction No. 2 for
safety and protection. On this issue the Defendant(s) has(have) the burden of proof. In other words,     correct instruction. Plaintiff further objects to this
                                                                                                         instruction as unnecessary, duplicative and similar
the Defendant(s) has(have) the burden of establishing, by a preponderance of the evidence, the           instruction already covered by earlier instructions.
Plaintiff failed to conform to that standard and by that failure contributed to his own injury. If the
                                                                                                         Commented [RM27]: Defendants’ response. This is
Defendant(s) convinces you of that, then you must assign a percentage of fault to the Plaintiff’s        taken straight from the Louisiana pattern jury charge.
conduct according to the instructions that I will give you.
        In deciding the question of Plaintiff’s fault, as it is called in the law, you may ask
yourselves this question: “Should the Plaintiff as an ordinarily prudent person, under all the
circumstances surrounding his conduct, have reasonably foreseen some such injury as he suffered
as a result of his conduct, and did he fail to exercise reasonable care to avoid such injury to
himself?”
        If the Defendant(s) does(do) not convince you that the Plaintiff was also at fault, and the
Plaintiff has otherwise proven his case by a preponderance of the evidence, then you should return
a verdict for the Plaintiff without assigning any percentage of fault to him.
        If you conclude that both the Defendant(s) and the Plaintiff were negligent, and that the
negligence of each was a proximate cause of the accident and Plaintiff’s injuries, then you must
assign percentages of fault to each one. In determining those percentages, you may consider both
the nature of the negligent conduct and the extent of the causal relation between the conduct and
plaintiff’s injuries.
        When I say “the nature of the negligent conduct,” I mean that you may consider: (1)
whether the conduct resulted from inadvertence or rather involved an awareness of the danger
involved; (2) how great the risk created by the person’s conduct was; (3) the importance of what
was sought by the conduct; (4) the physical and mental capacities of the person, either ordinary or
perhaps superior or inferior; and (5) any extenuating circumstances which might have required
that party to act in haste, without proper thought.
        When I say “the extent of the causal relation” between the conduct and the injuries, I mean
that you may consider the extent to which that party’s conduct contributed to the happening of the
accident and Plaintiff’s injuries.
       Louisiana law requires that you divide the total responsibility for this incident among all
those who were proven to be involved in it whether they are actually parties to this suit or not. You
should do this by assigning percentages of fault to the various involved persons which will total




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100%. You are free to assign whatever percentage you feel appropriate, and you should do so by                          Commented [RM28]: Plaintiff objects. Not proper jury
answering the following questions, which will be provided to you on a special verdict form.66                           instruction and inconsistent with Supreme Court of
                                                                                                                        Louisiana Rule 44 prescribing mandatory instructions,
                                                                                                                        effective October 14, 2014. See Plaintiff’s Proposed Jury
                                                                                                                        Instruction No. 2 for correct instruction.
        You are instructed that if the Plaintiff had a choice of two ways of performing his job in                      Plaintiff further objects as duplicative and prejudicial
this case, one of which was safe and one of which was unsafe, and he chose the unsafe way, then                         argument. Further, even in the cases cited, there is no
you may find that Plaintiff was guilty of comparative negligence. Plaintiff had a duty to look out                      authority for submitting this as an instruction. Both of these
                                                                                                                        cases were decided under Louisiana’s old contributory
for his own safety. Accordingly, if he failed to perform his job safely, then you may find he was                       negligence regime, which was eliminated when Louisiana
comparatively negligent.67                                                                                              adopted comparative fault in 1980. See, e.g., McCoy v.
                                                                                                                        Energy XXI GOM, L.L.C., et al, No. 16‐20735, 2017 WL
        In any action for damages where a person suffers injury, death, or loss, the degree or                          2544530 at *4 (5th Cir. June 9, 2017) (“The Louisiana
                                                                                                                        Supreme Court has explained that ‘[w]hen it adopted the
percentage of fault of all persons causing or contributing to the injury, death, or loss shall be                       comparative fault system, Louisiana abolished the
determined, regardless of whether the person is a party to the action or a non-party, and regardless                    contributory negligence feature, which completely barred
of the person’s insolvency, ability to pay, immunity by statute… or that the other person’s identity                    the recovery of injury victims because of their fault, our tort
is not known or reasonably ascertainable. If a person suffers injury, death or loss as the result partly                law formerly embraced prior to 1980’”).
of his own negligence and partly as a result of the fault of another person or persons, the amount                      Commented [RM29]: Defendants’ response. This charge
of damages recoverable shall be reduced in proportion to the degree or percentage of negligence                         is supported by the holdings in the cited cases.
attributed to the person suffering the injury, death, or loss. If Plaintiff’s injury was caused entirely                Commented [RM30]: Plaintiff objects. Not proper jury
by his own negligence, he is not entitled to recover damages from the Defendant(s).68                                   instruction and inconsistent with Supreme Court of
                                                                                                                        Louisiana Rule 44 prescribing mandatory instructions,
                                                                                                                        effective October 14, 2014. See Plaintiff’s Proposed Jury
                                                                                                                        Instruction No. 2 for correct instruction. Plaintiff further
                                                                                                                        objects as duplicative and prejudicial. No authority for
                                                                                                                        submitting this as an instruction. In fact, the Watson case,
                                                                                                                        in which the Louisiana Supreme Court reversed a 100%
                                                                                                                        comparative fault finding against the plaintiff on the basis
                                                                                                                        that the law was “was specifically designed to ameliorate
                                                                                                                        the harshness of the contributory negligence doctrine by
                                                                                                                        apportioning losses between the plaintiff and defendant
                                                                                                                        when both are negligent.” Watson, 469 So.2d at 971. The
                                                                                                                        Court further held that “In assessing the nature of the
                                                                                                                        conduct of the parties, various factors may influence the
                                                                                                                        degree of fault assigned, including: (1) whether the conduct
                                                                                                                        resulted from inadvertence or involved an awareness of the
                                                                                                                        danger, (2) how great a risk was created by the conduct, (3)
                                                                                                                        the significance of what was sought by the conduct, (4) the
                                                                                                                        capacities of the actor, whether superior or inferior, and (5)
                                                                                                                        any extenuating circumstances which might require the
                                                                                                                        actor to proceed in haste, without proper thought.” Id. at
                                                                                                                        973. The only other cited case decided after comparative   ... [3]
                                                                                                                        Commented [RM31]: Defendants’ response. This charge
66
   §3.2, “Burden of Proof: Preponderance of the Evidence”, Pattern Jury Instructions, Civil Cases, U.S. Fifth Circuit   is supported by the holdings in the cited cases.
District Judges Association (2014); 18 La. Civ. L. Treatise, Civil Jury Instructions § 5:1 (3d ed. 2016).; Haas v.
Atlantic Richfield, 799 F.2d 1011, 1015-16 (5th Cir. 1986); Cunningham v. Hardy Oil & Gas USA, Inc. and                 Commented [JS32]: Plaintiff globally objects to this
Diamond Offshore, Civil Action No. 96-1577 (W.D. La.) (Adaptation of charge given by Judge James Trimble in             entire instruction as inconsistent with Supreme Court of
cited case); Savoy v. Martiny Warehouse, Inc., 539 So.2d 884 (La. App. 4th Cir. 1989) citing Chatelain v. Project       Louisiana Rule 44 prescribing mandatory instructions,
Square 221, 505 So.2d 177 (La. App. 4th Cir. 1987); see also Baugh v. Redmond, 565 So.2d 953 (La. App. 2nd Cir.         effective October 14, 2014. Supreme Court of Louisiana
1990) and Lloyd v. TG&Y Stores Co., 556 So.2d 629 (La. App. 2nd Cir. 1990).                                             Rule 44 can be found at
67                                                                                                                      https://www.lasc.org/rules/supreme/RuleXLIV.asp The
   Waggoner v. Shell Oil Co., 707 F.2d 167 (5th Cir.1983); Brown v. White, 405 So.2d 555, 559-60 (La. App. 4th Cir.     source from which this is section is obtained, 18 La. Civ. L.
1981); Richards v. Farmers Expert Co., 377 So.2d 859 (La. App. 4th Cir. 1979).                                          Treatise, Civil Jury Instructions § 5:1, expressly notes how
68
   Watson v. State Far, Fire & Casualty Co., 469 So.2d 967 (La. 1985); Keel v. Greenville Midstream Service, Inc.,      its suggestions are superseded by Rule 44. Based on the
321 F.2d 903 (5th Cir. 1963); Allen v. Rawlins, 95-1592 (La.App. 4 Cir. 2/11/96); 669 So.2d 1282; La. Civ. Code         footnotes, this section proposed by Defendants also seems to
Art. 2323.                                                                                                              be an improper amalgamation of other sources. See         ... [4]

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DEFENDANTS’ PROPOSED JURY INSTRUCTION NO. 3:69

        By way of defense to the Plaintiff’s claim, the Defendants contend in this case that the
Plaintiff did not have an accident. The Defendants deny that there was any negligence on their part
which proximately caused any injury or damage to the Plaintiff. The Defendants contend that if
you find there was an accident, and if the accident was caused by negligence on the part of anyone,
it was the negligence of the Plaintiff himself which was the sole – the only – proximate cause of
the accident, and of any consequent injury or damage to the Plaintiff.

        Unless you find that the negligence of one or more of the Defendants was the proximate
cause of the accident, your verdict must be for the Defendants. If the negligence of the Plaintiff
was the sole – the only – proximate cause of the accident, then the Plaintiff is not entitled to recover
from the Defendants and your verdict must be for the Defendants. In other words, if you are
convinced by the Defendants’ evidence that the only reason the Plaintiff was injured was because
of his own sub-standard conduct, you may return a verdict for the Defendants in your responses to
the questions I will give you by assigning 100% responsibility for Plaintiff’s injuries to Plaintiff.                  Commented [RM33]: Defendants’ response. This is
                                                                                                                       taken straight from the Federal and Louisiana pattern jury
                                                                                                                       charge and is a proper instruction when Plaintiff’s sole
                                                                                                                       negligence is an issue.
                                                                                                                       Commented [JS34]: Plaintiff globally objects to this
                                                                                                                       entire instruction as inconsistent with Supreme Court of
                                                                                                                       Louisiana Rule 44 prescribing mandatory instructions,
                                                                                                                       effective October 14, 2014. The source from which this is
                                                                                                                       section is obtained, 18 La. Civ. L. Treatise, Civil Jury
                                                                                                                       Instructions § 5:3, expressly notes how its suggestions are
                                                                                                                       superseded by Rule 44. See Plaintiff’s Proposed Jury
                                                                                                                       Instruction No. 2 for correct instruction, which addresses
                                                                                                                       sole proximate cause. It is incorrect to refer to this
                                                                                                                       instruction as a pattern jury charge in light of Rule 44.
                                                                                                                       Further, based on the footnotes, this section proposed by
                                                                                                                       Defendants also seems to be an improper amalgamation of
                                                                                                                       other sources.




69
  §3.2, “Burden of Proof: Preponderance of the Evidence”, Pattern Jury Instructions, Civil Cases, U.S. Fifth Circuit
District Judges Association (2014); Federal Jury Practice Instructions, Devitt, Blackmar, Wolff & O’Malley, §95.29
(4th ed., 1987) 18 La. Civ. L. Treatise, Civil Jury Instructions § 5:3 (3d ed. 2016); Bourque v. Essex Ins. Co., 12-
0810 (La. 06/15/12); 90 So. 3d 1031.

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DEFENDANTS’ PROPOSED JURY INSTRUCTION NO. 4:70

         When an accident results from two acts of negligence, one more remote and one occurring
later, the occurrence of the later act prevents the finding of liability for the person responsible for
the more remote act. The subsequent action of the other persons or entities are intervening acts of
negligence which the law regards as superseding the negligent act of the first person who acted.

         Therefore, even if you find that one or more of the Defendants were negligent, you must
still consider whether but for Plaintiff’s actions his injuries would have occurred. If you find that
one or more of the Defendants were negligent, but that this negligence was more remote than
Plaintiff’s negligence, then you may find that Plaintiff’s negligence superseded the negligence of
the Defendant(s), and return a verdict for the Defendants.                                                           Commented [RM35]: Plaintiff objects. There is no legal
                                                                                                                     or factual basis for this submission. The source from which
                                                                                                                     this was taken recognizes that this doctrine probably no
                                                                                                                     longer exists under modern duty/risk analysis. See 18 La.
                                                                                                                     Civ. L. Treatise, Civil Jury Instructions § 3.25 (“it is
                                                                                                                     uncertain how much of this concept remains viable in the
                                                                                                                     days of the modern duty/risk analysis). Travis v. Spitale's
                                                                                                                     Bar, Inc. recognized that this instruction is no longer valid
                                                                                                                     (and certainly not in this case), and that 5:1 comparative
                                                                                                                     negligence principles are the proper instructions. 122 So.
                                                                                                                     3d 1118 (La. Ct. App. 1st Cir. 2013). Further, no superseding
                                                                                                                     cause has been identified and none exists as that term was
                                                                                                                     defined in old time law.
                                                                                                                     Commented [RM36]: Defendants’ Response. The
                                                                                                                     requested instruction is still supported by the Louisiana Civil
                                                                                                                     Law Treatise and relevant case law. It is appropriate and
                                                                                                                     should be submitted int is case.




70
  18 La. Civ. L. Treatise, Civil Jury Instructions § 3.25 (3d ed. 2016); Graham v. Amoco Oil Co., 21 F.3d 643 (5th
Cir. 1994).

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DEFENDANTS’ PROPOSED JURY INSTRUCTION NO. 5:71                                                                            Commented [RM37]: I do not hink this is necessray with
                                                                                                                          the new jury submissions
        The Defendants claim at all times pertinent to the platform operations at issue in this case,
Plaintiff was the borrowed employee of Fieldwood Energy.

        In addition, Wood Group, Island, and Shamrock also claim certain of their employees were
the borrowed employees of Fieldwood Energy.

        In considering whether any person was the borrowed employee of Fieldwood Energy, there
are nine separate factual inquiries you should consider in determining borrowed employee status.
They are as follows:

         1.       Who has control over the employee and the work he is performing, beyond mere
                  suggestion of details or cooperation?

         2.       Whose work is being performed?

         3.       Was there an agreement, understanding, or meeting of the minds between the
                                                                                                                          Commented [RM38]: Plaintiff objects as this was not
                  original and the borrowing employer? Contracts are not controlling on this factor.                      properly pled and there is no basis to support its
                  Instead you must look to actual practices on the job site.72                                            submission. See, e.g., Barnes v. Sundowner, No. 94‐3272,
                                                                                                                          1995 WL 529867 (E.D. La. Sep. 7, 1995) (declining to
                                                                                                                          consider borrowed employee argument where issue was
         4.       Did the employee acquiesce in the new work situation?
                                                                                                                          not properly pled); Perry v. Bo‐Truc Inc., 1992 WL 56055, *1
                                                                                                                          (E.D. La. 1992) (holding borrowed employee affirmative
         5.       Did the original employer terminate his relationship with the employee? This factor                     defense waived if not pled); see also separate
                  does not require an employer to terminate its relationship with the borrowed                            Memorandum Regarding Waiver of the Borrowed Servant
                                                                                                                          Doctrine. There has been no discussion of borrowed
                  employee, but merely that the original employer exercises minimal involvement                           employee anywhere in the pleadings, briefings, or discovery
                  with day-to-day assignments. 73                                                                         (unless Defendants did so covertly and without notice), and
                                                                                                                          Plaintiff had no idea it was an issue until receiving
                                                                                                                          Defendants’ submissions for the pretrial order. The
         6.       Who furnished tools and place for performance?
                                                                                                                          Defendants have in fact insisted they do not control the
                                                                                                                          Plaintiff and are wholly unrelated entities with no duties to
         7.       Was the new employment over a considerable length of time?                                              one another. See separate Memorandum Regarding Waiver
                                                                                                                          of the Borrowed Servant Doctrine. To inject this doctrine
                                                                                                                          into the case at the eleventh hour is incredibly prejudicial.
         8.       Who had the right to discharge the employee? This inquiry does not rest upon who
                  can hire or fire a person, but who can remove him from a job site.74                                    Commented [RM39]: Defendants’ response. Fieldwood
                                                                                                                          pled its entitlement to a defense based upon the workers’
                                                                                                                          compensation bar to suit since its original answer was filed.
         9.       Who had the obligation to pay the employee? The relevant inquiry here is what                           It was never contended Plaintiff was a general employee of
                  entity furnished the funds to pay the borrowed employee as opposed to what entity                       Fieldwood and the identity of his payroll or general
                                                                                                                          employer has never been disputed. As such, the only way
                  issues payment.75
                                                                                                                          Fieldwood could be entitled to this defense is if Plaintiff was
                                                                                                                          its borrowed employee. For Plaintiff to now claim he was
71                                                                                                                        not on notice of this defense is wholly unjustifiable and
    Ledet v. Quality Shipyards, Inc., 615 So.2d 990 (La. App. 1st Cir. 1993); see also Fanguy v. Dupre Bros.
                                                                                                                          reeks of ambush tactics. Island Operating pled its
Construction Co., Inc., 588 So.2d 1251 (La. App. 1st Cir. 1991); Hall v. Equitable Shipyard, Inc., 95-1754 (La. App.
                                                                                                                          entitlement to the immunity defense, and also pled it is not
4th Cir. 2/29/96); 670 So.2d 543; Ruiz v. Shell Oil Co., 413 F.2d 310 (5th Cir. 1969); Viator v. Gordon’s Trucking Co.,
                                                                                                                          responsible for any acts under the doctrine of respondeat
875 F.2d 369 (U.S.D.C., W.D.La. 1995).                                                                                    superior. Furthermore, Plaintiff’s cited authority on this
72
   Melancon v. Amoco Production Co., 834 F.2d 1238, 1245 (5th Cir. 1988) amended, 841 F.2d 572 (5th Cir. 1988).           issue does not even examine a particular pleading but
73
   Foreman v. Danos and Curole Marine Contractors, Inc., 722 So.2d 1, 6‐7 (La.App. 1st Cir. 1998).                        merely notes a motion for leave was not granted. Barnes v.
74
   Truitt v. B&G Crane Service, 165 So. 2d 874, 877 (La.App. 4th Cir. 1964).                                              Sundowner, No. 94‐3272, 1995 WL 529867 *2 (E.D. La. Sep.
75
   Melancon, 834 F.2d. at 1246.                                                                                           7, 1995)

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PLAINTIFF’S PROPOSED JURY INSTRUCTION NO. 6:                                                            Commented [JS40]: Plaintiff’s Note: With the exception
                                                                                                        of two instructions supported by Louisiana case law which
        If you decide that the plaintiff has established the other elements of his case by a            are necessary to comport with Louisiana law (as noted
preponderance of the evidence, and the defendant has failed to establish a defense which would          below), Plaintiff’s Proposed Jury Instruction No. 6 is taken
                                                                                                        directly from 18 La. Civ. L. Treatise, Civil Jury Instructions
prevent plaintiff from recovering an award for his injuries, you must decide the question of whether    § 18:1 et seq. (3d ed. 2016). The Comments to Section 18:1
there has been damage to his person or his property and if so, the amount of that damage.76             note that Supreme Court of Louisiana Rule 44 has not
                                                                                                        adopted an instruction on damages, and thus it is proper to
                                                                                                        refer to Section 18:1 et seq. Unlike Defendants’ Proposed
         In this regard, I recall to your attention the words of Article 2315 of our Civil Code:77      Instruction 6 (below), Plaintiff has not combined these
                                                                                                        instructions with redundant dicta from other sources. The
                  Every act whatever of man that causes damage to another, obliges him by whose         Court should select this simpler and correct instruction in its
                                                                                                        entirely over Defendants’ Proposed Instruction 6.
                  fault it happened to repair it.

        This article, and our law, suggest simple reparation, a just and adequate compensation for
injuries. It suggests no idea of revenge or punishment. Accordingly, our law does not permit the
awarding of damages to punish the defendant, or make an example of him to prevent other
accidents, and you should include no such amount in your award. Your award should be designed
to fully and fairly compensate the plaintiff for his injury, if you find one has occurred, and should
not go beyond such reparation.78

        The law recognizes the difficulty of translating personal injuries into a dollars and cents
figure, but that is what must be done. You must arrive at a figure that will fairly and adequately
compensate the plaintiff for damages he has already suffered, and that he will in all likelihood
suffer in the future. In estimating such damages, you may take into consideration the following
elements:79

         (1) physical injury suffered;
         (2) pain and suffering, both physical and mental;
         (3) loss of enjoyment of life;
         (4) permanent disability, if any;
         (5) loss of earnings, if any, both past and future;
         (6) medical expenses, both past and future.

        Like other parts of the plaintiff's case, these damages must be established by a
preponderance of the evidence. This means, on the one hand, that you are not entitled to award
speculative damages for injuries which you think the plaintiff might have suffered or might suffer
in the future. On the other hand, it means that you may make an effort to reasonably approximate
the damages which plaintiff has proved are more probable than not, even though they cannot be
computed with mathematical certainty. You may, if you wish, take into account the decreasing
value of the dollar in today's market.80

76
   18 La. Civ. L. Treatise, Civil Jury Instructions § 18:1 (3d ed. 2016).
77
   18 La. Civ. L. Treatise, Civil Jury Instructions § 18:1 (3d ed. 2016).
78
   18 La. Civ. L. Treatise, Civil Jury Instructions § 18:1 (3d ed. 2016).
79
   18 La. Civ. L. Treatise, Civil Jury Instructions § 18:1 (3d ed. 2016).
80
   18 La. Civ. L. Treatise, Civil Jury Instructions § 18:1 (3d ed. 2016).

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        In reaching a verdict on the question of damages, I caution you not to include anything for
the payment of court costs and attorney fees; the law does not consider these as damages suffered
by the plaintiff. Also, any amount which you might award to the plaintiff is not income within the
meaning of the income tax laws. If you decide to make an award, follow the instructions I have
given you, and do not add or subtract from that award on account of federal or state income taxes.
In other words, if you find that the plaintiff is entitled to damages, the amount which you award
should be the sum that you think will fully and fairly compensate the plaintiff for his injuries,
without regard to what he may pay his attorney or the amount that you might think would be paid
in income taxes.81

        An injured person may recover all expenses for treatment related to the conduct that caused
the injury, even if the charges or treatment were excessive, unless it is shown that the patient was
at fault for accepting the treatment. Excessive medical charges or treatments that are causally
related to the Defendants conduct and not to plaintiff’s fraud are assessed to the Defendants.82


        In determining any award that you might make for past wage loss, you should consider the
evidence presented to you on that issue. Any award which you may make should be based on
plaintiff's gross income, that is his earnings before deductions for income taxes, social security and
so forth—not on what we generally call his “take-home pay.”83

       The amount of damages for an item such as loss of future wages is necessarily speculative
and cannot be calculated with mathematical certainty. However, if you feel that such damages
should be awarded, you should exercise your discretion in considering all the circumstances and
award an amount that is just to both litigants and not unduly oppressive to either.84

         In determining such an award, you may consider plaintiff's physical condition before and
after this incident, his work record, his earnings in prior years, the probability or unprobability that
he would have earned similar amounts in the remainder of his work life, and similar factors.85

       Since, if you make such an award, plaintiff would be receiving today sums of money that
otherwise he would only receive over a number of years in the future, the law requires that you
“discount” or reduce to its present value the amount of the future loss you might otherwise award.
In simple terms, this is a reduction by the amount of money, or interest, which this smaller sum of
money will earn for plaintiff over the period of time in which he would have been earning these
future wages. You should list this “discounted” figure as your award for future wage loss, if you
make such an award.86



81
   18 La. Civ. L. Treatise, Civil Jury Instructions § 18:1 (3d ed. 2016)
82
   See Dauzat v. Canal Ins. Co, 692 So.2d 739, 747-748 (La. App. 3 Cir. 1997)
83
   18 La. Civ. L. Treatise, Civil Jury Instructions § 18:6 (3d ed. 2016)
84
   18 La. Civ. L. Treatise, Civil Jury Instructions § 18:7 (3d ed. 2016)
85
   18 La. Civ. L. Treatise, Civil Jury Instructions § 18:7 (3d ed. 2016)
86
   18 La. Civ. L. Treatise, Civil Jury Instructions § 18:7 (3d ed. 2016)

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        In your consideration of the items of damage, you should bear in mind that under the law
the one liable or responsible for an accident must take the injured person as he finds him, and is
responsible for all the natural and probable consequences of his wrong, even though they are more
serious or harmful by reason of a pre-existing condition, physical defect or weakness of the injured
person. If the accident results in aggravation of a previous condition of disability or of pain of the
injured person, the one responsible is liable both for the aggravation of the pre-existing condition
and for any new injuries resulting from the accident.87

        However, plaintiff must prove by a preponderance of the evidence (1) the prior existing
condition and (2) the extent of the aggravation. If you find that plaintiff would have faced this
aggravation of his condition whether this incident happened or not, then plaintiff is not entitled to
damages or that portion of his claim, since the defendant is not responsible for the normal and
natural results of plaintiff's prior condition.88

        The injured person’s disability is presumed to have resulted from an accident, if before the
accident the injured person was in good health, but commencing with the accident the symptoms
of the disabling condition appear and continuously manifest themselves afterwards, providing that
the medical evidence shows there to be a reasonable possibility of causal connection between the
accident and the disabling condition.89

        The law recognizes that a plaintiff may suffer mental distress and anguish as a result of an
incident as well as physical pain and suffering. You are permitted to consider such consequences
as a part of the general damages which you may award. By “mental distress and anguish,” I mean
substantial worry or concern, grief and the like.90

        Plaintiff has claimed as a part of his damages that he has suffered loss of enjoyment of life
in addition to the other physical and mental damages that he asserts. As with all other aspects of
damage claims, you have much discretion as to whether any such damages should be awarded, and
in what amounts. In this connection, you may take into account plaintiff's interests and way of life
and the extent to which he may have suffered damage with respect to it which is separate from his
other physical and mental damages.91

         Finally, let me say that the fact that I have given you these statements about the law of
damages does not in any way imply or suggest that I feel or do not feel that any damages are due
in this case. Whether or not damages are due is solely for you to determine.92




87
   18 La. Civ. L. Treatise, Civil Jury Instructions § 18:10 (3d ed. 2016)
88
   18 La. Civ. L. Treatise, Civil Jury Instructions § 18:10 (3d ed. 2016)
89
   Housley v. Cersie, 579 So.2d 973, 980 (La. 1991)
90
   18 La. Civ. L. Treatise, Civil Jury Instructions § 18:12 (3d ed. 2016)
91
   18 La. Civ. L. Treatise, Civil Jury Instructions § 18:17 (3d ed. 2016)
92
   18 La. Civ. L. Treatise, Civil Jury Instructions § 18:1 (3d ed. 2016)

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DEFENDANTS’ PROPOSED JURY INSTRUCTION NO. 6:


        If you decide that the Plaintiff has established the other elements of his case by a
preponderance of the evidence, and the Defendants have failed to establish a defense which would
prevent plaintiff from recovering an award for his injuries, you must decide the question of whether
there has been damage to his person or his property and if so, the amount of that damage.93

         In this regard, I recall to your attention the words of Article 2315 of our Civil Code:94

                  Every act whatever of man that causes damage to another, obliges
                  him by whose fault it happened to repair it.

        This article, and applicable law, suggest simple reparation, a just and adequate
compensation for injuries. The applicable law does not permit the awarding of damages to punish
the Defendant(s), or make an example of him to prevent other accidents, and you should include
no such amount in your award. Your award should be designed to fully and fairly compensate the             Commented [JS41]: Ryan – we remove our objection to
Plaintiff for his injury, if you find one has occurred, and should not go beyond such reparation.95        this language and have deleted both our comments


        The law recognizes the difficulty of translating personal injuries into a dollars and cents
figure, but that is what must be done. You must arrive at a figure that will fairly and adequately
compensate the Plaintiff for damages he has already suffered, and that he will in all likelihood           Commented [RM42]: Plaintiff objects. This is an attempt
suffer in the future.96                                                                                    to cobble together language from different sources.
                                                                                                           Commented [RM43]: Defendants’ response. This
       If you decide to award compensatory damages, you should be guided by dispassionate                  language is both allowable and suggested under LA PJC
                                                                                                           18:1. It is particularly important considering Plaintiff
common sense. Computing damages may be difficult, but you must not let that difficulty lead you
                                                                                                           intends to argue the callousness of the Defendants in this
to engage in arbitrary guesswork. On the other hand, the law does not require that Plaintiff prove         case, and their search for profits at Plaintiff’s expense.
the amount of his losses with mathematical precision, but only with as much definiteness and
                                                                                                           Commented [RM44]: Plaintiff objects. This is duplicative
accuracy as the circumstances permit. You must use sound discretion in fixing an award of                  of the two paragraphs above, and is an attempt to cobble
damages, drawing reasonable inferences where you find them appropriate from the facts and                  together language from different sources, and bolster
circumstances in evidence.97                                                                               concepts by stating them more than once. It is
                                                                                                           inappropriate to include both 5th Circuit and Louisiana
                                                                                                           instructions, or to randomly interchange.
          In estimating such damages, you may take into consideration the following elements:98
                                                                                                           Commented [RM45]: Defendants’ response. This
                                                                                                           language taken directly from the Fifth Circuit Pattern Jury
         (1) physical injury suffered;                                                                     Charge. It is particularly important considering Plaintiff
                                                                                                           intends to argue the callousness of the Defendants in this
         (2) pain and suffering, both physical and mental;                                                 case, and their search for profits at Plaintiff’s expense. This
                                                                                                           case presents unique issues related to damages including i)
                                                                                                           plaintiff’s pre‐existing condition; ii) plaintiff’s reduced work‐
         (3) loss of enjoyment of life;                                                                    life expectancy due to a severely degenerated back; iii)
                                                                                                           plaintiff’s experiencing an aggrevation of a pre‐existing
         (4) permanent disability, if any;                                                                 condition; iv) plaintiff’s mechanism of injury being
                                                                                                           attributable to events other than those complained of in
                                                                                                           this lawsuit; and v) Plaintiff’s need for future medical and
93
   18 La. Civ. L. Treatise, Civil Jury Instructions § 18:1 (3d ed. 2016).                                  the cause thereof; vi) mitigation of damages‐‐‐none of
94
   Id.                                                                                                     which are dealt with in the plaintiff’s proposed charge, and
95
   Id.                                                                                                     all of which are addressed in the Defendant’s proposed
96
   Id.                                                                                                     charge. The support for each of these matters is stated in
97
   Pattern Jury Instructions, Civil Cases, U.S. Fifth Circuit District Judges Association (2006) § 15.2.   footnotes where each is addressed in Defendant’s proposed
98                                                                                                         charge.
   18 La. Civ. L. Treatise, Civil Jury Instructions § 18:1 (3d ed. 2016).

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         (5) loss of earnings, if any, both past and future;

         (6) medical expenses, both past and future.

        Like other parts of the Plaintiff's case, these damages must be established by a
preponderance of the evidence. This means, on the one hand, that you are not entitled to award
speculative damages for injuries which you think the Plaintiff might have suffered or might suffer
in the future. On the other hand, it means that you may make an effort to reasonably approximate
the damages which Plaintiff has proved are more probable than not, even though they cannot be
computed with mathematical certainty. You may, if you wish, take into account the decreasing
value of the dollar in today's market.99

        As I have mentioned to you, there is no practical way to introduce evidence as to the general
damages which Plaintiff claims for pain and suffering and for mental distress. There is no precise
standard to fix these damages or assign some kind of value to them. You are not trying to determine
value, but your job is to determine an amount that will be fair and just on the basis of evidence of
Plaintiff's injury and treatment that you have heard, and that will fairly compensate plaintiff for
any damage he may have suffered.100

       A person who claims damages resulting from the wrongful act of another has a duty under
the law to use reasonable diligence to mitigate his/her damages, that is, to avoid or to minimize
those damages.101

        If you find the Defendant(s) is(are) liable and the Plaintiff has suffered damages, the
Plaintiff may not recover for any item of damage which he could have avoided through reasonable
effort. If you find the Defendant(s) proved by a preponderance of the evidence the Plaintiff
unreasonably failed to take advantage of an opportunity to lessen his damages, you should deny
him recovery for those damages that he would have avoided had he taken advantage of the
opportunity.102
                                                                                                                           Commented [RM46]: Plaintiff objects. This is duplicative
        You are the sole judge of whether the Plaintiff acted reasonably in avoiding or minimizing                         of the two paragraphs above, and is an attempt to cobble
his damages. An injured plaintiff may not sit idly by when presented with an opportunity to reduce                         together language from different sources, and bolster
his damages. However, he is not required to exercise unreasonable efforts or incur unreasonable                            concepts by stating them more than once. It is
                                                                                                                           inappropriate to include both 5th Circuit and Louisiana
expenses in mitigating the damages. The Defendant(s) has(have) the burden of proving the                                   instructions, or to randomly interchange.
damages that the Plaintiff could have mitigated. In deciding whether to reduce the Plaintiff’s
                                                                                                                           Commented [JS47]: Defendant’s response: This case
damages because of his failure to mitigate, you must weigh all the evidence in light of the particular                     presents unique issues related to damages including i)
circumstances of the case, using sound discretion in deciding whether the Defendant(s) has(have)                           plaintiff’s pre‐existing condition; ii) plaintiff’s reduced work‐
satisfied his(their) burden of proving the Plaintiff’s conduct was not reasonable.103                                      life expectancy due to a severely degenerated back; iii)
                                                                                                                           plaintiff’s experiencing an aggrevation of a pre‐existing
                                                                                                                           condition; iv) plaintiff’s mechanism of injury being
                                                                                                                           attributable to events other than those complained of in
                                                                                                                           this lawsuit; and v) Plaintiff’s need for future medical and
99
   Id.                                                                                                                     the cause thereof; vi) mitigation of damages‐‐‐none of
100
    Pattern Jury Instructions, Civil Cases, U.S. Fifth Circuit District Judges Association (2006) § 15.3; 18 La. Civ. L.   which are dealt with in the plaintiff’s proposed charge, and
Treatise, Civil Jury Instructions § 18:4 (3d ed. 2016).                                                                    all of which are addressed in the Defendant’s proposed
101
    Pattern Jury Instructions, Civil Cases, U.S. Fifth Circuit District Judges Association (2006) § 15.5.                  charge. The support for each of these matters is stated in
102
    Id.                                                                                                                    footnotes where each is addressed in Defendant’s proposed
103                                                                                                                        charge.
    Id.

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       In determining any award, you might make for past or future medical expenses, you should
consider the evidence, and the opinions of expert witnesses, to decide the reasonable value or
expense of medical, nursing and hospital care and treatment which was or will be reasonable and
necessary for Plaintiff's condition.104

       In order for Plaintiff to recover for past medical expenses, Plaintiff must prove, more
probably than not, the medical treatment was necessitated by trauma suffered in the accident.105                     Commented [RM48]: Defendant’s Response: Plaintiff Is
                                                                                                                     unable to controvert the appropriateness of this instruction
                                                                                                                     and same is support by legal authority and thus should be
        Future medical expenses must be established with some degree of certainty. In order to
                                                                                                                     included.
recover such damages, Plaintiff must show, by a preponderance of the evidence, the probability of
these future medical expenses with supporting medical testimony and estimations of their probable
cost. Awards will not be made in the absence of medical testimony that the expenses are indicated
and that sets out the probable cost. An award of future medical expenses cannot be based on the
mere speculation of the jury.106                                                                                     Commented [RM49]: Plaintiff objects: All this is
                                                                                                                     unnecessary, not in any PJC, and not proper subject of jury
                                                                                                                     instructions
        In your consideration of the items of damage, you should bear in mind that under the law
                                                                                                                     Commented [RM50]: Plaintiff objects: All this is
the one liable or responsible for an accident must take the injured person as he finds him, and is                   unnecessary, not in any PJC, and not proper subject of jury
responsible for all the natural and probable consequences of his wrong, even though they are more                    instructions.
serious or harmful by reason of a pre-existing condition, physical defect or weakness of the injured                 Commented [RM51]: Defendant’s Response: Plaintiff Is
person. If the accident results in aggravation of a previous condition of disability or of pain of the               unable to controvert the appropriateness of this instruction
injured person, the one responsible is liable both for the aggravation of the pre-existing condition                 and same is support by legal authority and thus should be
and for any new injuries resulting from the accident.                                                                included.

        However, plaintiff must prove by a preponderance of the evidence (1) the prior existing
condition and (2) the extent of the aggravation. If you find that plaintiff would have faced this
aggravation of his condition whether this incident happened or not, then plaintiff is not entitled to
damages or that portion of his claim, since the defendant is not responsible for the normal and
natural results of plaintiff's prior condition.


        An injured person is entitled to recover full compensation for all damages that proximately
result from a defendant's tortious act, even if some or all of the injuries might not have occurred
but for the plaintiff's pre-existing physical condition, disease, or susceptibility to injury.107


        The injured person’s disability is presumed to have resulted from an accident, if before the
accident the injured person was in good health, but commencing with the accident the symptoms
of the disabling condition appear and continuously manifest themselves afterwards, providing that
the medical evidence shows there to be a reasonable possibility of causal connection between the



104
    18 La. Civ. L. Treatise, Civil Jury Instructions § 18:5 (3d ed., 2016).
105
    Este v. State Farm Insurance Companies, 96-99 (La.App. 3 Cir. 7/10/96); 676 So.2d 850; White v. Longanecker,
637 So.2d 1213 (La.App. 1st Cir. 1994)
106
    Berry v. Auto-Owners Insurance Company, 634 Fed. Appx. 960, 964 (5th Cir. 2015); Menard v. Lafayette Ins. Co.,
31 So. 3d 996, 1006 (La. 2010); Este v. State Farm Insurance Companies, 96-99 (La.App. 3 Cir. 7/10/96); 676 So.2d
850; Boothe v. New Orleans Public Service Inc., 477 So.2d 620 (La.App. 4th Cir. 1984).
107
    Williams v. Stewart, 46 So.3d 266, 272 (La. App. 4 Cir. 2010, writ denied, 52 So.3d 905 (La. 2011).

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accident and the disabling condition.108


        However, plaintiff must prove by a preponderance of the evidence (1) the prior existing
condition and (2) the extent of the aggravation. If you find Plaintiff would have faced this
aggravation of his condition whether this incident happened or not, then Plaintiff is not entitled to
damages or that portion of his claim, since the Defendant is not responsible for the normal and
natural results of Plaintiff’s prior condition. 109

       The amount of damages for an item such as loss of future wages is necessarily speculative
and cannot be calculated with mathematical certainty. However, if you feel that such damages
should be awarded, you should exercise your discretion in considering all the circumstances and
award an amount that is just to both litigants and not unduly oppressive to either.110

         In determining such an award, you may consider Plaintiff's physical condition before and
after this incident, his work record, his earnings in prior years, the probability or unprobability that
he would have earned similar amounts in the remainder of his work life, and similar factors.111

        The phrase “work-life expectancy” literally reflects its meaning: the average number of
years that a person of a certain age will both live and work. Such an average is not conclusive. It
may be shown by evidence that a particular person, by virtue of his health or occupation or other
factors, is likely to live and work a longer, or shorter, period than the average.112                                     Commented [RM52]: Plaintiff objects: Not an
                                                                                                                          appropriate instruction. No authority for submitting this as
                                                                                                                          an instruction. Not necessary.
        Because, if you make such an award, Plaintiff would be receiving today sums of money
that otherwise he would only receive over a number of years in the future, the law requires that
you “discount” or reduce to its present value the amount of the future loss you might otherwise
award. In simple terms, this is a reduction by the amount of money, or interest, which this smaller
sum of money will earn for Plaintiff over the period of time in which he would have been earning
these future wages. You should list this “discounted” figure as your award for future wage loss, if
you make such an award.113

       In determining this “discount” factor, you may consider the evidence of the experts who
have testified on this issue.114

        In reaching a verdict on the question of damages, I caution you not to include anything for
the payment of court costs and attorney fees; the law does not consider these as damages suffered
by the Plaintiff. Also, any amount which you might award to the Plaintiff is not income within the
meaning of the income tax laws. If you decide to make an award, follow the instructions I have
given you, and do not add or subtract from that award on account of federal or state income taxes.

108
    Housley v. Cersie, 579 So.2d 973, 980 (La. 1991)
109
     18 La. Civ. L. Treatise, Civil Jury Instructions § 18:10 (3d ed., 2016).
110
    18 La. Civ. L. Treatise, Civil Jury Instructions § 18:7 (3d ed., 2016).
111
    Id.
112
    DePerrodil v. Bozovic Marine, Inc., 842 F.3d 352, 361 (5th Cir. 2016); Barto v. Shore Const., L.L.C., 801 F.3d 465,
475 (5th Cir. 2015); Madore v. Ingram Tank Ships, Inc., 732 F.2d 475, 478 (5th Cir. 1984).
113
    18 La. Civ. L. Treatise, Civil Jury Instructions § 18:7 (3d ed., 2016).
114
    18 La. Civ. L. Treatise, Civil Jury Instructions § 18:7 (3d ed., 2016).

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In other words, if you find that the Plaintiff is entitled to damages, the amount which you award
should be the sum that you think will fully and fairly compensate the plaintiff for his injuries,
without regard to what he may pay his attorney or the amount that you might think would be paid
in income taxes.115

        The law of Louisiana does not permit an award of punitive damages, that is to say, in a
case of this kind, no award should be made as a punishment for injuries which may have been
inflicted. Punitive damages cannot be allowed, even though a Defendant may be grossly negligent,
and even if a jury might feel that he should be punished. Any award made in such a case must be
limited to a fair compensation for the items claimed as damages resulting from the accident.116      Commented [RM53]: Plaintiff objects: Duplicative
                                                                                                     Commented [RM54]: Defendant’s response. This
         Finally, let me say that the fact that I have given you these statements about the law of   language is both allowable and suggested under LA PJC
damages does not in any way imply or suggest that I feel or do not feel that any damages are due     18:11. It is particularly important considering Plaintiff
in this case. Whether or not damages are due is solely for you to determine.117                      intends to argue the callousness of the Defendants in this
                                                                                                     case, and their search for profits at Plaintiff’s expense.
                                                                                                     Commented [JS55]: Plaintiff’s Objection: Although there
                                                                                                     is some overlap, Plaintiff objects to this instruction in its
                                                                                                     entirety and requests that the Court instead adopt Plaintiff’s
                                                                                                     Instruction No. 6, which is simpler and which does not
                                                                                                     combine redundant and duplicative (and therefore
                                                                                                     prejudicial) ideas from several competing sources and dicta.
                                                                                                     Commented [BDA56]: John, If you look at the Fifth
                                                                                                     Circuit Pattern Jury Charges, chapter 15 “Damages” it states
                                                                                                     that for state law claims, the state’s charge on damages
                                                                                                     should be consulted. There is a specific reference to La.
                                                                                                     (see fn 2). Perhaps we could agree to use 18.1 of the La.
                                                                                                     Civ. Jury Instructions along with 18.10 and a few other
                                                                                                     sections. Please let us know your thoughts.

                                                                                                     And, I realize that we cited the Fifth Circuit instructions on
                                                                                                     damages as well, but think we should both use La.
                                                                                                     Commented [JS57R56]: Plaintiff agrees we should take
                                                                                                     this out.




115
    18 La. Civ. L. Treatise, Civil Jury Instructions § 18:1 (3d ed., 2016).
116
    18 La. Civ. L. Treatise, Civil Jury Instructions § 18:11 (3d ed., 2016).
117
    18 La. Civ. L. Treatise, Civil Jury Instructions § 18:1 (3d ed., 2016).

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DEFENDANTS’ PROPOSED QUESTION NO. 1118:                                                                                Commented [RM58]: Plaintiff objects to this submission
                                                                                                                       in its entirety.
         Do you find from a preponderance of the evidence a slip-and-fall, involving Plaintiff                         Commented [RM59]: Defense response. This is an
                                                                                                                       appropriate threshold question based on Defendant’s
occurred on or about the early morning hours of December 1, 2014, onboard the Main Pass 153B?                          contention this incident never occurred. It should clearly be
                                                                                                                       decided before the jury spends untold time debating other
                                                                                                                       issues. It is a clear expression of Defendant’s claims that
                                                                                                                       allows the jury, if they agree with Defendants to vote up or
         ANSWER: “YES” or “NO”: ________                                                                               down on Plaintiff’s claims. Furthermore, this question is
                                                                                                                       supported by Louisiana case law as cited below.
         If you answered question No. 1 “Yes”, then answer the following questions. Otherwise,

do not answer the following questions.




118
   Bourque v. Essex Ins. Co., 12-0810 (La. 06/15/12); 90 So. 3d 1031 ("[d]o you find, by a preponderance of the
evidence, that an accident occurred on or about August 19, 2002, injuring the plaintiff, Patricia Bourque?"); Cooper
v. Greyhound Lines, Inc., 2006-1655 (La.App. 4 Cir. 6/20/07); 961 So. 2d 1286 (“Do you find that an accident
occurred on December 17, 2004, while Mr. Cooper was riding a Greyhound bus?")


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DEFENDANTS’ PROPOSED QUESTION NO. 2119:                                                                 Commented [RM60]: Plaintiff objects to this and all
                                                                                                        borrowed employee issues, as they were not properly pled
                                                                                                        and there is no basis to support their submission. See, e.g.,
        Please answer the following inquiries:
                                                                                                        Barnes v. Sundowner, No. 94‐3272, 1995 WL 529867 (E.D.
                                                                                                        La. Sep. 7, 1995) (declining to consider borrowed employee
        Please answer the following additional inquiries. Up to this point, the Plaintiff has had the   argument where issue was not properly pled); Perry v. Bo‐
                                                                                                        Truc Inc., 1992 WL 56055, *1 (E.D. La. 1992) (holding
                                                                                                        borrowed employee affirmative defense waived if not pled).
burden of proving the questions by a preponderance of the evidence. For the remaining questions         The Defendants have in fact insisted they do not control the
                                                                                                        Plaintiff and are wholly unrelated entities with no duties to
2 through 5 only, the burden of proof lies with the Defendants. You are instructed that the             one another. To inject this doctrine into the case at the
                                                                                                        eleventh hour is incredibly prejudicial.
Defendants—not the Plaintiff—bear the burden of proving all remainingthose questions below by           Commented [JS61]: Plaintiff further objects to the
                                                                                                        submission of all borrowed servant questions because
a preponderance of the evidence. Affirmative or “Yes” answers to the below questions will mean          Plaintiff anticipates and expects that a directed verdict
                                                                                                        should be granted on the borrowed servant issue. Plaintiff
                                                                                                        further notes that the issue of borrowed servant is a
that Plaintiff, Island, Wood Group, and Shamrock were the “borrowed employees” of Fieldwood,            question of law for the Court.
                                                                                                        Commented [JS62]: Plaintiff further objects to the
and that Plaintiff therefore cannot recover from any of the Defendants.                                 insertion of these borrowed servant affirmative defense
                                                                                                        questions in the middle of questions where the Plaintiff
                                                                                                        bears the burden of proof. Defendants’ affirmative defense
                                                                                                                                                                ... [6]
                                                                                                        questions should be presented last and after all questions

        a. Do you find from a preponderance of the evidence Fieldwood Energy LLC had control            Commented [RM63]: Defendant’s response. Fieldwood
                                                                                                        pled its entitlement to a defense based upon the workers’
                                                                                                        compensation bar to suit since its original answer andwas
            over Milorad Raicevic’s work on a day to day basis on the platform??                        gven leaeto amend to proide clarification and an ameded... [5]
                                                                                                        Commented [RM64]: If this sentence stays in it should
            You are instructed that Fieldwood Energy LLC had control of Milorad Raicevic’s work         reference the quesions specfically.
                                                                                                        Commented [RM65]: Fieldwood objects because this is
            on a day to day basis if it had authoritative direction and control over his work as        not an accurate statemet as the below qustions only relate
                                                                                                        to Fieldwood's potential liability.
            opposed to mere suggestion as to the details or the necessary cooperation.120               Commented [JS66]: If borrowed servant questions are
                                                                                                        submitted, this instruction as to the burden of proof should
            ANSWER: “YES” or “NO”: _________                                                            be given to avoid confusion. Further, the jury is entitled to
                                                                                                        know the effect of their answers regarding borrowed ... [7]
        b. Do you find from a preponderance of the evidence Fieldwood Energy LLC and                    Commented [RM67]: To the extent any portion of this
                                                                                                        paragagh remains it should be used in questions 2 through 5
            Waukesha Pearce had a meeting of the minds concerning Plaintiff being under                 and taylored to the inquires in those questions as oppsoed
                                                                                                        to a global statement in front of a singe question.

            Fieldwood Energy LLC’s employ while on the Platform?                                        Commented [RM68]: Defendants object to this language
                                                                                                        as not appropriate and informing the jury of the legal effect
                                                                                                        of its answers. This reuts is the risj o a results driven
            You are instructed that Waukesha Pearce’s knowledge that Plaintiff would be taking          ressoen as opposed to one driven by the facts. Further it...is[8]
                                                                                                        Commented [JS69]: Plaintiff objects to this question as
            instruction from Fieldwood evidences a meeting of the minds. 121                            an incorrect statement of the law as it leaves out the
                                                                                                        elements of agreement and understanding. It should read
                                                                                                        “Do you find from a preponderance of the evidence      ... [9]
                                                                                                        Commented [JS70]: Plaintiff objects to this instruction as
119                                                                                                     an incorrect, misleading, and incomplete statement of the
    Ruiz v. Shell Oil Co., 413 F.2d 310, 312-13 (5th Cir. 1969).                                        law. Courts of course give considerable weight to written
120
    Id. at 313.
121
                                                                                                        agreements between the parties as to what they agreed.... [10]
    Melancon v. Amoco Production Co., 834 F.2d 1238, 1245 (5th Cir. 1988)

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                ANSWER: “YES” or “NO”: _________

            c. Do you find from a preponderance of the evidence Plaintiff acquiesced to being under

                Fieldwood Energy LLC’s employ while on the Platform?                                  Commented [JS71]: Plaintiff objects to this question as
                                                                                                      confusing and incomplete. This question should read “Do
                                                                                                      you find from a preponderance of the evidence Plaintiff
                You are instructed that acquiescence is demonstrated by an employee's awareness of    acquiesced to being under Fieldwood Energy LLC’s employ
                                                                                                      and no longer under Waukesha Pearce’s employ while on the
                his work conditions and his choosing to continue working in them. 122                 Platform?


                ANSWER: “YES” or “NO”: _________                                                      Commented [JS72]: Plaintiff objects to this question as
                                                                                                      an incomplete and misleading statement of the law. The
                                                                                                      Ruiz court found no evidence of acquiescence, and did not
            d. Do you find from a preponderance of the evidence there was at least a temporary        detail what would constitute acquiescence.
                                                                                                      Commented [JS73]: Plaintiff objects to the inclusion of
                termination of Plaintiff’s employment relationship with Waukesha Pearce?              the words “at least.” They are not found in Ruiz v. Shell Oil
                                                                                                      Co., 413 F.2d 310 (5th Cir. 1969).
                ANSWER: “YES” or “NO”: _________

            e. Do you find from a preponderance of the evidence Fieldwood Energy LLC provided

                Plaintiff his place of work and the necessary instruments to perform his work?        Commented [JS74]: Plaintiff objects as Defendant have
                                                                                                      rearranged the phrase from Ruiz. It should read “Do you
                                                                                                      find from a preponderance of the evidence Fieldwood
                ANSWER: “YES” or “NO”: _________                                                      Energy LLC provided Plaintiff the necessary instruments and
                                                                                                      the place for performance of the work.”
            f. Do you find from a preponderance of the evidence Plaintiff was working for Fieldwood

                Energy LLC for a considerable length of time?

                ANSWER: “YES” or “NO”: _________

            g. Do you find from a preponderance of the evidence the work Plaintiff was performing

                was that of Fieldwood Energy LLC?                                                     Commented [JS75]: Plaintiff objects to this question as
                                                                                                      confusing and incomplete. It should read “Do you find from
                                                                                                      a preponderance of the evidence the work Plaintiff was
                ANSWER: “YES” or “NO”: _________                                                      performing was that of Fieldwood Energy LLC and not
                                                                                                      Waukesha Pearce?”
            h. Do you find from a preponderance of the evidence Fieldwood Energy LLC had the

                right to discharge Plaintiff?                                                         Commented [JS76]: Plaintiff objects to this question as
                                                                                                      confusing and incomplete. It should read “Do you find from
                                                                                                      a preponderance of the evidence Fieldwood Energy LLC had
                                                                                                      the right to discharge Plaintiff as opposed to Waukesha
                                                                                                      Pearce?” See Johnson v. PPI Technology Services LP, 605
                                                                                                      Fed. App. 366, 371 (5th Cir. 2015) (detailing that the issue is
                                                                                                      “who” had the right to discharge the employee).



122
      Ruiz, 413 F.2d. at 313.

                                                    33
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                You are instructed that Fieldwood Energy LLC had the right to discharge Plaintiff so

                long as it had the right to terminate Plaintiff’s services to it, even if it could not

                terminate Plaintiff’s position with Waukesha Pearce. 123                                 Commented [JS77]: Plaintiff objects to this instruction as
                                                                                                         an incomplete and misleading statement of the law. The
                                                                                                         limits and bounds of Fieldwood’s alleged rights over Plaintiff
                ANSWER: “YES” or “NO”: _________
                                                                                                         do matter. Borrowed servant analysis is a balancing of
                                                                                                         several factors and circumstances. The fact that Hebron
           i. Do you find from a preponderance of the evidence the work Fieldwood Energy LLC             notes that the authority to terminate existed in some areas
                                                                                                         but not others does not entitle Defendants to shade this
                                                                                                         question in their favor or make sweeping conclusions of law.
                had an obligation to pay Plaintiff’s wages?                                              Other courts find it significant when deciding against a
                                                                                                         finding of borrowed servant that the new employer could
                You are instructed that Fieldwood Energy LLC had the obligation to pay Plaintiff even    not terminate the employee from the lending employer.
                                                                                                         West v. Kerr‐McGee Corp., 765 F.2d 526, 531 (5th Cir. 1985)
                                                                                                         (“Although Kerr‐McGee could dismiss West from the
                if his wages were paid by Waukesha Pearce based on time sheets verified and/or           platform, it could not fire him from his position with Berry
                                                                                                         Brothers.”)
                approved by Fieldwood. 124
                                                                                                         Commented [JS78]: Plaintiff objects to this question as
                                                                                                         confusing. It should instead read “Do you find from a
                ANSWER: “YES” or “NO”: _________                                                         preponderance of the evidence the work Fieldwood Energy
                                                                                                         LLC had an obligation to pay Plaintiff’s wages as opposed to
                                                                                                         Waukesha Pearce?”


                                                                                                         Commented [JS79]: Plaintiff objects to this instruction as
                                                                                                         an incomplete and misleading statement of the law.
                                                                                                         Borrowed servant analysis is a balancing of several factors
                                                                                                         and circumstances. The fact that Brown considered the
                                                                                                         verification of time sheets does not warrant an instruction
                                                                                                         in this case. Other cases deem other circumstances
                                                                                                         important. In Kerr‐McGee and when reversing a borrowed
                                                                                                         servant finding, the court found it significant that the so‐
                                                                                                         called borrowing employer had not paid for any workers
                                                                                                         compensation benefits, and that his own employer had paid
                                                                                                         him (as is the case here). West v. Kerr‐McGee Corp., 765
                                                                                                         F.2d 526, 531 (5th Cir. 1985). If anything, a directed verdict
                                                                                                         against this (and all other borrowed servant) questions
                                                                                                         should be given.




123
      Hebron v. Union Oil Co. of California, 634 F.2d 245 (5th Cir.1981) (per curiam)
124
      Brown v. Union Oil Co. of California, 984 F.2d 674, 679 (5th Cir.1993).

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DEFENDANTS’ PROPOSED QUESTION NO. 32125:                                                               Commented [RM80]: Defendant’s response. Wood
                                                                                                       Group pled its entitlement to a defense based upon the
                                                                                                       workers’ compensation bar to on leae of the Court
        Please answer the following inquiries:
                                                                                                       Furthermore, Plaintiff’s cited authority on this issue does
                                                                                                       not even examine a particular pleading but merely notes a
        a. Do you find from a preponderance of the evidence Fieldwood Energy LLC had control           motion for leave was not granted. Barnes v. Sundowner,
                                                                                                       No. 94‐3272, 1995 WL 529867 *2 (E.D. La. Sep. 7, 1995)
            over Wood Group PSN, Inc.’s employees on the Platform’s work on a day to day basis

            on the platform??

            You are instructed that Fieldwood Energy LLC had control of Wood Group PSN, Inc.’s

            employees on the Platform’s work on a day to day basis if it had authoritative direction

            and control over his work as opposed to mere suggestion as to the details or the

            necessary cooperation.126

            ANSWER: “YES” or “NO”: _________

        b. Do you find from a preponderance of the evidence Fieldwood Energy LLC and Wood

            Group PSN, Inc. had a meeting of the minds concerning Plaintiff being under

            Fieldwood Energy LLC’s employ while on the Platform?                                       Commented [JS81]: Plaintiff objects to this question as
                                                                                                       an incorrect statement of the law as it leaves out the
                                                                                                       elements of agreement and understanding. It should read
            You are instructed that Wood Group PSN, Inc.’s knowledge that its employees on the
                                                                                                       “Do you find from a preponderance of the evidence
                                                                                                       Fieldwood Energy LLC and Wood Group PSN Inc. had an
            Platform would be taking instruction from Fieldwood evidences a meeting of the             agreement, understanding, or meeting of the minds
                                                                                                       concerning Plaintiff being under Fieldwood Energy LLC’s
                                                                                                       employ and not Wood Group’s employ while on the
            minds. 127                                                                                 Platform?
                                                                                                       Commented [JS82]: Plaintiff objects to this instruction as
            ANSWER: “YES” or “NO”: _________                                                           an incorrect, misleading, and incomplete statement of the
                                                                                                       law. Courts of course give considerable weight to written
        c. Do you find from a preponderance of the evidence Wood Group PSN, Inc.’s employees           agreements between the parties as to what they agreed.
                                                                                                       West v. Kerr McGee Corp, 765 F.2d 526, 531 (5th Cir. 1985).

            on the Platform acquiesced to being under Fieldwood Energy LLC’s employ while on

            the Platform?                                                                              Commented [JS83]: Plaintiff objects to this question as
                                                                                                       confusing and incomplete. This question should read “Do
                                                                                                       you find from a preponderance of the evidence Wood
                                                                                                       Group’s employees acquiesced to being under Fieldwood
                                                                                                       Energy LLC’s employ and no longer under Wood Group’s
125                                                                                                    employ while on the Platform?
    Ruiz v. Shell Oil Co., 413 F.2d 310, 312-13 (5th Cir. 1969).
126
    Id. at 313.
127
    Melancon v. Amoco Production Co., 834 F.2d 1238, 1245 (5th Cir. 1988)

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                You are instructed that acquiescence is demonstrated by an employee's awareness of

                his work conditions and his choosing to continue working in them. 128                  Commented [JS84]: Plaintiff objects to this question as
                                                                                                       an incomplete and misleading statement of the law. The
                                                                                                       Ruiz court found no evidence of acquiescence, and did not
                ANSWER: “YES” or “NO”: _________
                                                                                                       detail what would constitute acquiescence.

            d. Do you find from a preponderance of the evidence there was at least a temporary         Commented [JS85]: Plaintiff objects to the inclusion of
                                                                                                       the words “at least.” They are not found in Ruiz v. Shell Oil
                                                                                                       Co., 413 F.2d 310 (5th Cir. 1969).
                termination of Plaintiff’s employment relationship with Wood Group PSN, Inc.?

                ANSWER: “YES” or “NO”: _________

            e. Do you find from a preponderance of the evidence Fieldwood Energy LLC provided

                Wood Group PSN, Inc.’s employees on the Platform’s place of work and the necessary

                instruments to perform his work?                                                       Commented [JS86]: Plaintiff objects as Defendant have
                                                                                                       rearranged the phrase from Ruiz. It should read “Do you
                                                                                                       find from a preponderance of the evidence Fieldwood
                ANSWER: “YES” or “NO”: _________                                                       Energy LLC provided Wood Group the necessary
                                                                                                       instruments and the place for performance of the work.”
            f. Do you find from a preponderance of the evidence Wood Group PSN, Inc.’s employees

                on the Platform were working for Fieldwood Energy LLC for a considerable length of

                time?

                ANSWER: “YES” or “NO”: _________

            g. Do you find from a preponderance of the evidence the work Wood Group PSN, Inc.’s

                employees on the Platform were performing was that of Fieldwood Energy LLC?            Commented [JS87]: Plaintiff objects to this question as
                                                                                                       confusing and incomplete. It should read “Do you find from
                                                                                                       a preponderance of the evidence the work Wood Group’s
                ANSWER: “YES” or “NO”: _________                                                       employees were performing was that of Fieldwood Energy
                                                                                                       LLC and not Wood Group?”
            h. Do you find from a preponderance of the evidence Fieldwood Energy LLC had the

                right to discharge Wood Group PSN, Inc.’s employees on the Platform?                   Commented [JS88]: Plaintiff objects to this question as
                                                                                                       confusing and incomplete. It should read “Do you find from
                                                                                                       a preponderance of the evidence Fieldwood Energy LLC had
                You are instructed that Fieldwood Energy LLC had the right to discharge Wood Group     the right to dischargeWood Group’s employees as opposed
                                                                                                       to Wood Group?” See Johnson v. PPI Technology Services
                PSN, Inc.’s employees on the Platform so long as it had the right to terminate their   LP, 605 Fed. App. 366, 371 (5th Cir. 2015) (detailing that the
                                                                                                       issue is “who” had the right to discharge the employee).




128
      Ruiz, 413 F.2d. at 313.

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                services to it, even if it could not terminate their position with Wood Group PSN, Inc..
                129
                                                                                                           Commented [JS89]: Plaintiff objects to this instruction as
                                                                                                           an incomplete and misleading statement of the law. The
                                                                                                           limits and bounds of Fieldwood’s alleged rights over Plaintiff
                ANSWER: “YES” or “NO”: _________
                                                                                                           do matter. Borrowed servant analysis is a balancing of
                                                                                                           several factors and circumstances. The fact that Hebron
           i. Do you find from a preponderance of the evidence the work Fieldwood Energy LLC               notes that the authority to terminate existed in some areas
                                                                                                           but not others does not entitle Defendants to shade this
                                                                                                           question in their favor or make sweeping conclusions of law.
                had an obligation to pay Wood Group PSN, Inc.’s employees on the Platform’s wages?         Other courts find it significant when deciding against a
                                                                                                           finding of borrowed servant that the new employer could
                You are instructed that Fieldwood Energy LLC had the obligation to pay Wood Group          not terminate the employee from the lending employer.
                                                                                                           West v. Kerr‐McGee Corp., 765 F.2d 526, 531 (5th Cir. 1985)
                                                                                                           (“Although Kerr‐McGee could dismiss West from the
                PSN, Inc.’s employees on the Platform’s even if his wages were paid by Wood Group          platform, it could not fire him from his position with Berry
                                                                                                           Brothers.”)
                PSN, Inc. based on time sheets verified and/or approved by Fieldwood. 130
                                                                                                           Commented [JS90]: Plaintiff objects to this question as
                                                                                                           confusing. It should instead read “Do you find from a
           ANSWER: “YES” or “NO”: _________                                                                preponderance of the evidence that Fieldwood Energy had an
                                                                                                           obligation to pay Wood Group’s employees wages as
                                                                                                           opposed to Wood Group?”
                                                                                                           Commented [JS91]: Plaintiff objects to this instruction as
                                                                                                           an incomplete and misleading statement of the law.
                                                                                                           Borrowed servant analysis is a balancing of several factors
                                                                                                           and circumstances. The fact that Brown considered the
                                                                                                           verification of time sheets does not warrant an instruction
                                                                                                           in this case. Other cases deem other circumstances
                                                                                                           important. In Kerr‐McGee and when reversing a borrowed
                                                                                                           servant finding, the court found it significant that the so‐
                                                                                                           called borrowing employer had not paid for any workers
                                                                                                           compensation benefits, and that his own employer had paid
                                                                                                           him (as is the case here). West v. Kerr‐McGee Corp., 765
                                                                                                           F.2d 526, 531 (5th Cir. 1985). If anything, a directed verdict
                                                                                                           against this (and all other borrowed servant) questions
                                                                                                           should be given.




129
      Hebron v. Union Oil Co. of California, 634 F.2d 245 (5th Cir.1981) (per curiam)
130
      Brown v. Union Oil Co. of California, 984 F.2d 674, 679 (5th Cir.1993).

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DEFENDANTS’ PROPOSED QUESTION NO. 43131:                                                            Commented [RM92]: Defendant’s response. Island
                                                                                                    Operating pled its entitlement to the immunity defense, and
                                                                                                    also pled it is not responsible for any acts under the
        Please answer the following inquiries:
                                                                                                    doctrine of respondeat superior. Furthermore, Plaintiff’s
                                                                                                    cited authority on this issue does not even examine a
        a. Do you find from a preponderance of the evidence Fieldwood Energy LLC had control        particular pleading but merely notes a motion for leave was
                                                                                                    not granted. Barnes v. Sundowner, No. 94‐3272, 1995 WL
                                                                                                    529867 *2 (E.D. La. Sep. 7, 1995)
            over Island Operating Company LLC’s employees on the Platform’s work on a day to

            day basis on the platform??

            You are instructed that Fieldwood Energy LLC had control of Island Operating

            Company LLC’s employees on the Platform’s work on a day to day basis if it had

            authoritative direction and control over his work as opposed to mere suggestion as to

            the details or the necessary cooperation.132

            ANSWER: “YES” or “NO”: _________

        b. Do you find from a preponderance of the evidence Fieldwood Energy LLC and Island

            Operating Company LLC had a meeting of the minds concerning Plaintiff being under

            Fieldwood Energy LLC’s employ while on the Platform?                                    Commented [JS93]: Plaintiff objects to this question as
                                                                                                    an incorrect statement of the law as it leaves out the
                                                                                                    elements of agreement and understanding. It should read
            You are instructed that Island Operating Company LLC’s knowledge that its employees
                                                                                                    “Do you find from a preponderance of the evidence
                                                                                                    Fieldwood Energy LLC and Island Operating Company LLC
            on the Platform would be taking instruction from Fieldwood evidences a meeting of       had an agreement, understanding, or meeting of the minds
                                                                                                    concerning Plaintiff being under Fieldwood Energy LLC’s
                                                                                                    employ and not Island Operating Company LLC’s employ
            the minds. 133                                                                          while on the Platform?
                                                                                                    Commented [JS94]: Plaintiff objects to this instruction as
            ANSWER: “YES” or “NO”: _________                                                        an incorrect, misleading, and incomplete statement of the
                                                                                                    law. Courts of course give considerable weight to written
        c. Do you find from a preponderance of the evidence Island Operating Company LLC’s          agreements between the parties as to what they agreed.
                                                                                                    West v. Kerr McGee Corp, 765 F.2d 526, 531 (5th Cir. 1985).

            employees on the Platform acquiesced to being under Fieldwood Energy LLC’s employ

            while on the Platform?                                                                  Commented [JS95]: Plaintiff objects to this question as
                                                                                                    confusing and incomplete. This question should read “Do
                                                                                                    you find from a preponderance of the evidence Island
                                                                                                    Operating Company LLC’s employees acquiesced to being
                                                                                                    under Fieldwood Energy LLC’s employ and no longer under
                                                                                                    Island Operating Company LLC’s employ while on the
                                                                                                    Platform?

131
    Ruiz v. Shell Oil Co., 413 F.2d 310, 312-13 (5th Cir. 1969).
132
    Id. at 313.
133
    Melancon v. Amoco Production Co., 834 F.2d 1238, 1245 (5th Cir. 1988)

                                                      38
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                You are instructed that acquiescence is demonstrated by an employee's awareness of

                his work conditions and his choosing to continue working in them. 134                Commented [JS96]: Plaintiff objects to this question as
                                                                                                     an incomplete and misleading statement of the law. The
                                                                                                     Ruiz court found no evidence of acquiescence, and did not
                ANSWER: “YES” or “NO”: _________
                                                                                                     detail what would constitute acquiescence.

            d. Do you find from a preponderance of the evidence there was at least a temporary       Commented [JS97]: Plaintiff objects to the inclusion of
                                                                                                     the words “at least.” They are not found in Ruiz v. Shell Oil
                                                                                                     Co., 413 F.2d 310 (5th Cir. 1969).
                termination of Plaintiff’s employment relationship with Island Operating Company

                LLC?

                ANSWER: “YES” or “NO”: _________

            e. Do you find from a preponderance of the evidence Fieldwood Energy LLC provided

                Island Operating Company LLC’s employees on the Platform’s place of work and the

                necessary instruments to perform his work?                                           Commented [JS98]: Plaintiff objects as Defendant have
                                                                                                     rearranged the phrase from Ruiz. It should read “Do you
                                                                                                     find from a preponderance of the evidence Fieldwood
                ANSWER: “YES” or “NO”: _________                                                     Energy LLC provided Island Operating LLC’s employees on
                                                                                                     the Platform the necessary instruments and the place for
            f. Do you find from a preponderance of the evidence Island Operating Company LLC’s       performance of the work.”


                employees on the Platform were working for Fieldwood Energy LLC for a considerable

                length of time?

                ANSWER: “YES” or “NO”: _________

            g. Do you find from a preponderance of the evidence the work Island Operating Company

                LLC’s employees on the Platform were performing was that of Fieldwood Energy

                LLC?                                                                                 Commented [JS99]: Plaintiff objects to this question as
                                                                                                     confusing and incomplete. It should read “Do you find from
                                                                                                     a preponderance of the evidence the work Island Operating’s
                ANSWER: “YES” or “NO”: _________                                                     employees were performing was that of Fieldwood Energy
                                                                                                     LLC and not Island Operating Company LLC?”
            h. Do you find from a preponderance of the evidence Fieldwood Energy LLC had the

                right to discharge Island Operating Company LLC’s employees on the Platform?         Commented [JS100]: Plaintiff objects to this question as
                                                                                                     confusing and incomplete. It should read “Do you find from
                                                                                                     a preponderance of the evidence Fieldwood Energy LLC had
                                                                                                     the right to discharge Island’s employees as opposed to
                                                                                                     Island Operating LLC?” See Johnson v. PPI Technology
                                                                                                     Services LP, 605 Fed. App. 366, 371 (5th Cir. 2015)
                                                                                                     (detailing that the issue is “who” had the right to discharge
                                                                                                     the employee).
134
      Ruiz, 413 F.2d. at 313.

                                                    39
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                You are instructed that Fieldwood Energy LLC had the right to discharge Island

                Operating Company LLC’s employees on the Platform so long as it had the right to

                terminate their services to it, even if it could not terminate their position with Island

                Operating Company LLC. 135                                                                  Commented [JS101]: Plaintiff objects to this instruction
                                                                                                            as an incomplete and misleading statement of the law. The
                                                                                                            limits and bounds of Fieldwood’s alleged rights over Plaintiff
                ANSWER: “YES” or “NO”: _________
                                                                                                            do matter. Borrowed servant analysis is a balancing of
                                                                                                            several factors and circumstances. The fact that Hebron
           i. Do you find from a preponderance of the evidence the work Fieldwood Energy LLC                notes that the authority to terminate existed in some areas
                                                                                                            but not others does not entitle Defendants to shade this
                                                                                                            question in their favor or make sweeping conclusions of law.
                had an obligation to pay Island Operating Company LLC’s employees on the                    Other courts find it significant when deciding against a
                                                                                                            finding of borrowed servant that the new employer could
                Platform’s wages?                                                                           not terminate the employee from the lending employer.
                                                                                                            West v. Kerr‐McGee Corp., 765 F.2d 526, 531 (5th Cir. 1985)
                                                                                                            (“Although Kerr‐McGee could dismiss West from the
                You are instructed that Fieldwood Energy LLC had the obligation to pay Island               platform, it could not fire him from his position with Berry
                                                                                                            Brothers.”)
                Operating Company LLC’s employees on the Platform’s even if his wages were paid
                                                                                                            Commented [JS102]: Plaintiff objects to this question as
                                                                                                            confusing. It should instead read “Do you find from a
                by Island Operating Company LLC based on time sheets verified and/or approved by            preponderance of the evidence that Fieldwood Energy LLC
                                                                                                            had an obligation to pay Island’s employees wages as
                                                                                                            opposed to Island Operating Company LLC?”
                Fieldwood. 136
                                                                                                            Commented [JS103]: Plaintiff objects to this instruction
                                                                                                            as an incomplete and misleading statement of the law.
           ANSWER: “YES” or “NO”: _________                                                                 Borrowed servant analysis is a balancing of several factors
                                                                                                            and circumstances. The fact that Brown considered the
                                                                                                            verification of time sheets does not warrant an instruction
                                                                                                            in this case. Other cases deem other circumstances
                                                                                                            important. In Kerr‐McGee and when reversing a borrowed
                                                                                                            servant finding, the court found it significant that the so‐
                                                                                                            called borrowing employer had not paid for any workers
                                                                                                            compensation benefits, and that his own employer had paid
                                                                                                            him (as is the case here). West v. Kerr‐McGee Corp., 765
                                                                                                            F.2d 526, 531 (5th Cir. 1985). If anything, a directed verdict
                                                                                                            against this (and all other borrowed servant) questions
                                                                                                            should be given.




135
      Hebron v. Union Oil Co. of California, 634 F.2d 245 (5th Cir.1981) (per curiam)
136
      Brown v. Union Oil Co. of California, 984 F.2d 674, 679 (5th Cir.1993).

                                                          40
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DEFENDANTS’ PROPOSED QUESTION NO. 52137:                                                             Commented [RM104]: Defendant’s response. Shamrock
                                                                                                     Management ple its entitlement to a defense based upon
                                                                                                     the workers’ compensation bar to suit since upon leave of
        Please answer the following inquiries:
                                                                                                     the Court. Furthermore, Plaintiff’s cited authority on this
                                                                                                     issue does not even examine a particular pleading but
        a. Do you find from a preponderance of the evidence Fieldwood Energy LLC had control         merely notes a motion for leave was not granted. Barnes v.
                                                                                                     Sundowner, No. 94‐3272, 1995 WL 529867 *2 (E.D. La. Sep.
                                                                                                     7, 1995)
            over Shamrock Management LLC’s employees on the Platform’s work on a day to day

            basis on the platform??

            You are instructed that Fieldwood Energy LLC had control of Shamrock Management

            LLC’s employees on the Platform’s work on a day to day basis if it had authoritative

            direction and control over his work as opposed to mere suggestion as to the details or

            the necessary cooperation.138

            ANSWER: “YES” or “NO”: _________

        b. Do you find from a preponderance of the evidence Fieldwood Energy LLC and

            Shamrock Management LLC had a meeting of the minds concerning Plaintiff being

            under Fieldwood Energy LLC’s employ while on the Platform?                               Commented [JS105]: Plaintiff objects to this question as
                                                                                                     an incorrect statement of the law as it leaves out the
                                                                                                     elements of agreement and understanding. It should read
            You are instructed that Shamrock Management LLC’s knowledge that its employees
                                                                                                     “Do you find from a preponderance of the evidence
                                                                                                     Fieldwood Energy LLC and Shamrock had an agreement,
            on the Platform would be taking instruction from Fieldwood evidences a meeting of        understanding, or meeting of the minds concerning
                                                                                                     Shamrock employees being under Fieldwood Energy LLC’s
                                                                                                     employ and not Shamrock’s employ while on the Platform?
            the minds. 139
                                                                                                     Commented [JS106]: Plaintiff objects to this instruction
                                                                                                     as an incorrect, misleading, and incomplete statement of
            ANSWER: “YES” or “NO”: _________                                                         the law. Courts of course give considerable weight to
                                                                                                     written agreements between the parties as to what they
        c. Do you find from a preponderance of the evidence Shamrock Management LLC’s                agreed. West v. Kerr McGee Corp, 765 F.2d 526, 531 (5th Cir.
                                                                                                     1985). Please see below question submitted by Plaintiff for
                                                                                                     proper question on this issue.
            employees on the Platform acquiesced to being under Fieldwood Energy LLC’s employ

            while on the Platform?                                                                   Commented [JS107]: Plaintiff objects to this question as
                                                                                                     confusing and incomplete. This question should read “Do
                                                                                                     you find from a preponderance of the evidence Shamrock’s
                                                                                                     employees acquiesced to being under Fieldwood Energy
                                                                                                     LLC’s employ and no longer under Shamrock’s employ
                                                                                                     while on the Platform?


137
    Ruiz v. Shell Oil Co., 413 F.2d 310, 312-13 (5th Cir. 1969).
138
    Id. at 313.
139
    Melancon v. Amoco Production Co., 834 F.2d 1238, 1245 (5th Cir. 1988)

                                                      41
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                You are instructed that acquiescence is demonstrated by an employee's awareness of

                his work conditions and his choosing to continue working in them. 140                 Commented [JS108]: Plaintiff objects to this question as
                                                                                                      an incomplete and misleading statement of the law. The
                                                                                                      Ruiz court found no evidence of acquiescence, and did not
                ANSWER: “YES” or “NO”: _________
                                                                                                      detail what would constitute acquiescence.

            d. Do you find from a preponderance of the evidence there was at least a temporary        Commented [JS109]: Plaintiff objects to the inclusion of
                                                                                                      the words “at least.” They are not found in Ruiz v. Shell Oil
                                                                                                      Co., 413 F.2d 310 (5th Cir. 1969).
                termination of Plaintiff’s employment relationship with Shamrock Management LLC?

                ANSWER: “YES” or “NO”: _________

            e. Do you find from a preponderance of the evidence Fieldwood Energy LLC provided

                Shamrock Management LLC’s employees on the Platform’s place of work and the

                necessary instruments to perform his work?                                            Commented [JS110]: Plaintiff objects as Defendant have
                                                                                                      rearranged the phrase from Ruiz. It should read “Do you
                                                                                                      find from a preponderance of the evidence Fieldwood
                ANSWER: “YES” or “NO”: _________                                                      Energy LLC provided Shamrock the necessary instruments
                                                                                                      and the place for performance of the work.”
            f. Do you find from a preponderance of the evidence Shamrock Management LLC’s

                employees on the Platform were working for Fieldwood Energy LLC for a considerable

                length of time?

                ANSWER: “YES” or “NO”: _________

            g. Do you find from a preponderance of the evidence the work Shamrock Management

                LLC’s employees on the Platform were performing was that of Fieldwood Energy

                LLC?                                                                                  Commented [JS111]: Plaintiff objects to this question as
                                                                                                      confusing and incomplete. It should read “Do you find from
                                                                                                      a preponderance of the evidence the work Shamrock was
                ANSWER: “YES” or “NO”: _________                                                      performing was that of Fieldwood Energy LLC and not
                                                                                                      Shamrock?”
            h. Do you find from a preponderance of the evidence Fieldwood Energy LLC had the

                right to discharge Shamrock Management LLC’s employees on the Platform?               Commented [JS112]: Plaintiff objects to this question as
                                                                                                      confusing and incomplete. It should read “Do you find from
                                                                                                      a preponderance of the evidence Fieldwood Energy LLC had
                You are instructed that Fieldwood Energy LLC had the right to discharge Shamrock      the right to discharge Shamrock’s employees as opposed to
                                                                                                      Shamrock?” See Johnson v. PPI Technology Services LP,
                Management LLC’s employees on the Platform so long as it had the right to terminate   605 Fed. App. 366, 371 (5th Cir. 2015) (detailing that the
                                                                                                      issue is “who” had the right to discharge the employee).



140
      Ruiz, 413 F.2d. at 313.

                                                    42
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                their services to it, even if it could not terminate their position with Shamrock

                Management LLC. 141                                                                 Commented [JS113]: Plaintiff objects to this instruction
                                                                                                    as an incomplete and misleading statement of the law. The
                                                                                                    limits and bounds of Fieldwood’s alleged rights over Plaintiff
                ANSWER: “YES” or “NO”: _________
                                                                                                    do matter. Borrowed servant analysis is a balancing of
                                                                                                    several factors and circumstances. The fact that Hebron
           i. Do you find from a preponderance of the evidence the work Fieldwood Energy LLC        notes that the authority to terminate existed in some areas
                                                                                                    but not others does not entitle Defendants to shade this
                                                                                                    question in their favor or make sweeping conclusions of law.
                had an obligation to pay Shamrock Management LLC’s employees on the Platform’s      Other courts find it significant when deciding against a
                                                                                                    finding of borrowed servant that the new employer could
                wages?                                                                              not terminate the employee from the lending employer.
                                                                                                    West v. Kerr‐McGee Corp., 765 F.2d 526, 531 (5th Cir. 1985)
                                                                                                    (“Although Kerr‐McGee could dismiss West from the
                You are instructed that Fieldwood Energy LLC had the obligation to pay Shamrock     platform, it could not fire him from his position with Berry
                                                                                                    Brothers.”)
                Management LLC’s employees on the Platform’s even if his wages were paid by
                                                                                                    Commented [JS114]: Plaintiff objects to this question as
                                                                                                    confusing. It should instead read “Do you find from a
                Shamrock Management LLC based on time sheets verified and/or approved by            preponderance of the evidence that Fieldwood Energy LLC
                                                                                                    had an obligation to pay Shamrock’s employees wages as
                                                                                                    opposed to Shamrock?”
                Fieldwood. 142
                                                                                                    Commented [JS115]: Plaintiff objects to this instruction
                                                                                                    as an incomplete and misleading statement of the law.
           ANSWER: “YES” or “NO”: _________                                                         Borrowed servant analysis is a balancing of several factors
                                                                                                    and circumstances. The fact that Brown considered the
                                                                                                    verification of time sheets does not warrant an instruction
                                                                                                    in this case. Other cases deem other circumstances
                                                                                                    important. In Kerr‐McGee and when reversing a borrowed
                                                                                                    servant finding, the court found it significant that the so‐
                                                                                                    called borrowing employer had not paid for any workers




141
      Hebron v. Union Oil Co. of California, 634 F.2d 245 (5th Cir.1981) (per curiam)
142
      Brown v. Union Oil Co. of California, 984 F.2d 674, 679 (5th Cir.1993).

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PROPOSED QUESTION NO.____:143
            Were Wood Group, Fieldwood, Shamrock, and/or Island Operating, and/or Waukesha

Pearce, negligent?                                                                                    Commented [NM116]: Plaintiff objects to WP’s
                                                                                                      submission. There is no evidence to support this submission
                                                                                                      and Waukesha‐Pearce as being contributorily negligent was
        ANSWER: “YES” or “NO”:
                                                                                                      not properly supported in interrogatory responses. See also
                                                                                                      Motion in Limine on this issue.
            a. Wood Group                                     _______
                                                                                                      Commented [RM117]: Defendants’ response. This is
                                                                                                      specifically supported and required in a Louisiana jury
            b. Fieldwood                                      _______                                 charge. La. Civ. Code Art. 2324 expressly states that the jury
                                                                                                      verdict form should include any party who has immunity
            c. Shamrock                                       _______                                 under La. Rev. Stat. 23: 1032, which is the worker’s
                                                                                                      compensation employer immunity provision under La.
                                                                                                      law. Thus, the comparative negligence principals of La. law
            d. Island Operating                               _______                                 require all persons, whether a party or not, to be included
                                                                                                      on the verdict form, including the employer. In this case,
            e. Waukesha Pearce                                _______                                 the immunity for the employer is under 33 USC 905(a), but
                                                                                                      regardless of the source of the immunity, Art. 2324
                                                                                                      contemplates the person will be on the jury verdict form.
        If you answered Question No. 1 “No”, for all listed parties, go no further. If you answered
                                                                                                      Commented [NM118]: Plaintiff objects to WP’s
                                                                                                      submission. There is no evidence to support this submission
Question No. ___ “Yes” for any party other than Waukesha Pearce, proceed to Question No. ___.         and Waukesha‐Pearce as being contributorily negligent was
                                                                                                      not properly supported in interrogatory responses. See also
                                                                                                      Motion in Limine on this issue.
                                                                                                      Commented [RM119]: Defendants’ response. This is
                                                                                                      specifically supported and required in a Louisiana jury
                                                                                                      charge. La. Civ. Code Art. 2324 expressly states that the jury
                                                                                                      verdict form should include any party who has immunity
                                                                                                      under La. Rev. Stat. 23: 1032, which is the worker’s
                                                                                                      compensation employer immunity provision under La.
                                                                                                      law. Thus, the comparative negligence principals of La. law
                                                                                                      require all persons, whether a party or not, to be included
                                                                                                      on the verdict form, including the employer. In this case,
                                                                                                      the immunity for the employer is under 33 USC 905(a), but
                                                                                                      regardless of the source of the immunity, Art. 2324
                                                                                                      contemplates the person will be on the jury verdict form.
                                                                                                      Formatted: No underline




143
      La. Civ. L. Treatise, Civil Jury Instructions § 21.1.

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PROPOSED QUESTION NO. ___:144
            Was the negligence of Waukesha Pearce, Wood Group, Fieldwood, Shamrock, and/or           Commented [RM120]: Plaintiff objects to WP’s
                                                                                                     submission. There is no evidence to support this submission
                                                                                                     and Waukesha‐Pearce as being contributorily negligent was
Island Operating a proximate cause of the accident?
                                                                                                     not properly supported in interrogatory responses. See also
                                                                                                     Motion in Limine on this issue.
       ANSWER: “YES” or “NO”:
                                                                                                     Commented [RM121]: Defendants’ response. This is
                                                                                                     specifically supported and required in a Louisiana jury
       a. Waukesha Pearce                                                          _______           charge. La. Civ. Code Art. 2324 expressly states that the jury
                                                                                                     verdict form should include any party who has immunity
       b. Wood Group                                                               _______           under La. Rev. Stat. 23: 1032, which is the worker’s
                                                                                                     compensation employer immunity provision under La.
                                                                                                     law. Thus, the comparative negligence principals of La. law
       c. Fieldwood                                                                _______           require all persons, whether a party or not, to be included
                                                                                                     on the verdict form, including the employer. In this case,
       d. Shamrock                                                                 _______           the immunity for the employer is under 33 USC 905(a), but
                                                                                                     regardless of the source of the immunity, Art. 2324
                                                                                                     contemplates the person will be on the jury verdict form.
       e. Island Operating                                                         _______
                                                                                                     Commented [RM122]: Plaintiff objects to WP’s
                                                                                                     submission. There is no evidence to support this submission
       If you answered Question No. ___ “NO” for all listed parties other than Waukesha Pearce, go   and Waukesha‐Pearce as being contributorily negligent was
                                                                                                     not properly supported in interrogatory responses. See also
no further. If you answered Question No. ___ “YES”, proceed to Question No. ___.                     Motion in Limine on this issue.
                                                                                                     Commented [RM123]: Defendants’ response. This is
                                                                                                     specifically supported and required in a Louisiana jury
                                                                                                     charge. La. Civ. Code Art. 2324 expressly states that the jury
                                                                                                     verdict form should include any party who has immunity
                                                                                                     under La. Rev. Stat. 23: 1032, which is the worker’s
                                                                                                     compensation employer immunity provision under La.
                                                                                                     law. Thus, the comparative negligence principals of La. law
                                                                                                     require all persons, whether a party or not, to be included
                                                                                                     on the verdict form, including the employer. In this case,
                                                                                                     the immunity for the employer is under 33 USC 905(a), but
                                                                                                     regardless of the source of the immunity, Art. 2324
                                                                                                     contemplates the person will be on the jury verdict form.




144
      18 La. Civ. L. Treatise, Civil Jury Instructions § 21.1 (3d ed., 2016).

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DEFENDANTS’ PROPOSED QUESTION NO. ___:145                                                      Commented [RM124]: Plaintiff objects to Plaintiff’s
                                                                                               inclusion. Plaintiff served proper interrogatory requests
                                                                                               seeking factual contentions as to his contributory
       Was the Milorad Raicevic negligent?
                                                                                               negligence, and none of the Defendants with the exception
                                                                                               of Wood Group made any such contentions. At most, the
       ANSWER: “YES” or “NO”: _______                                                          charge should be amended such that an affirmative answer
                                                                                               to this question only impacts the liability of Wood Group.
       If you answered Question No. ___ “YES”, proceed to Question No. ___. If the answer to   Commented [RM125]: Defendants Response. Plaintiff’s
                                                                                               negligence has been an issue in this case from the
Question No. ___ is no, proceed to Question No. ___.                                           beginning. Plaintiff’s negligence has been plead as an
                                                                                               affirmative defense in this matter by all Defendants.
                                                                                               Furthermore, this issue has been raised by the discovery in
                                                                                               this case, including Plaintiff’s own deposition. Nonetheless,
                                                                                               to the extent Plaintiff feels his interrogatory No. 5 to
                                                                                               Fieldwood, which was properly object to, and for which no
                                                                                               motion to compel was ever sought, calls for this kind of
                                                                                               information it was previously suplemented so as to comply
                                                                                               with this purely formal issue.




145
      La. Civ. L. Treatise, Civil Jury Instructions § 21.1.

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DEFENDANTS’ PROPOSED QUESTION NO. ___:146                                                            Commented [RM126]: Plaintiff objects to Plaintiff’s
                                                                                                     inclusion. Plaintiff served proper interrogatory requests
                                                                                                     seeking factual contentions as to his contributory
            Was the negligence of Plaintiff a proximate cause of the accident?
                                                                                                     negligence, and none of the Defendants with the exception
                                                                                                     of Wood Group made any such contentions. At most, the
            ANSWER: “YES” or “NO”: _______                                                           charge should be amended such that an affirmative answer
                                                                                                     to this question only impacts the liability of Wood Group.
            If the answer to Question No. ___ is “YES”, please proceed to Question No. ___. If the   Commented [RM127]: Defendants Response. Plaintiff’s
                                                                                                     negligence has been an issue in this case from the
answer to Question No. ___ is “NO”, please proceed to Question No. ___ but do not answer for         beginning. Plaintiff’s negligence has been plead as an
                                                                                                     affirmative defense in this matter by all Defendants.
                                                                                                     Furthermore, this issue has been raised by the discovery in
the Plaintiff.                                                                                       this case, including Plaintiff’s own deposition. Nonetheless,
                                                                                                     to the extent Plaintiff feels his interrogatory No. 5 to
                                                                                                     Fieldwood, which was properly object to, and for which no
                                                                                                     motion to compel was ever sought will be supplemented so
                                                                                                     as to comply with this purely formal issue.




146
      La. Civ. L. Treatise, Civil Jury Instructions § 21.1.

                                                              47
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PROPOSED QUESTION NO. ____:147

            Please state the percentage of negligence, if any, attributable to each of the parties listed below

to which you answered “Yes” in Question No. ___ and/or No. ___.

            a.       Milorad Raicevic                                                         _______%            Commented [RM128]: Plaintiff objects to Plaintiff’s
                                                                                                                  inclusion. Plaintiff served proper interrogatory requests
                                                                                                                  seeking factual contentions as to his contributory
            b.       Waukesha Pearce                                                          _______%
                                                                                                                  negligence, and none of the Defendants with the exception
                                                                                                                  of Wood Group made any such contentions. At most, the
            c.       Wood Group                                                               _______%            charge should be amended such that an affirmative answer
                                                                                                                  to this question only impacts the liability of Wood Group.
            d.       Fieldwood                                                                _______%            Commented [RM129]: Defendants Response. Plaintiff’s
                                                                                                                  negligence has been an issue in this case from the
            e.       Shamrock                                                                 _______ %           beginning. Plaintiff’s negligence has been plead as an
                                                                                                                  affirmative defense in this matter by all Defendants.
                                                                                                                  Furthermore, this issue has been raised by the discovery in
            f.       Island Operating                                                         _______%            this case, including Plaintiff’s own deposition. Nonetheless,
                                                                                                                  to the extent Plaintiff feels his interrogatory No. 5 to
                                                          Total                                     100%          Fieldwood, which was properly object to, and for which no
                                                                                                                  motion to compel was ever sought, will be supplemented so
                                                                                                                  as to comply with this purely formal issue.
After answering this question, proceed to Question No. ___
                                                                                                                  Commented [RM130]: Plaintiff objects to WP’s
                                                                                                                  submission. There is no evidence to support this submission
                                                                                                                  and Waukesha‐Pearce as being contributorily negligent was
                                                                                                                  not properly supported in interrogatory responses. See also
                                                                                                                  Motion in Limine on this issue..
                                                                                                                  Commented [RM131]: Defendants’ response. This is
                                                                                                                  specifically supported and required in a Louisiana jury
                                                                                                                  charge.




147
      18 La. Civ. L. Treatise, Civil Jury Instructions § 21.1 (3d ed., 2016).

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       Answer Question No. ___ if you answered “Yes” to either Fieldwood, Shamrock, Island

Operating, or Wood Group in Question No. ___. Otherwise, do not answer Question 3.                      Commented [BDA132]: These question numbers will
                                                                                                        need to be re‐numbered depending upon which questions
                                                                                                        the Court submits.
Agreed Question 3:        What sum of money, if paid now in cash, would fairly and reasonably

compensate Milorad Raicevic for his injuries, if any, that resulted from the occurrence or injury in

question?

       Consider the elements of damages listed below and none other. Consider each element

separately. Do not award any sum of money on any element if you have otherwise, under some

other element, awarded a sum of money for the same loss. That is, do not compensate twice for

the same loss, if any. Do not include interest on any amount of damages you find.

       Answer separately, in dollars and cents, for damages, if any. Do not reduce the amounts, if

any, in your answers because of the negligence, if any, of Milorad Raicevic.

a. Medical care expenses incurred in the past.
Answer: ____________________
b. Medical care expenses that, in reasonable probability, Milorad Raicevic, will incur in the future.
Answer: ____________________

c. Loss of earning capacity sustained in the past.
Answer: ____________________
d. Loss of earning capacity that, in reasonable probability, Milorad Raicevic, will sustain in the
future.
Answer: ____________________
e. Pain and suffering sustained in the past.
Answer: ____________________
f. Pain and suffering that, in reasonable probability, Milorad Raicevic, will sustain in the future.
Answer: ____________________



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g. Mental anguish sustained in the past.
Answer: ____________________
h. Mental anguish that, in reasonable probability, Milorad Raicevic, will sustain in the future.
Answer: ____________________

i. Physical disfigurement sustained in the past.

Answer: ____________________
j. Physical disfigurement that, in reasonable probability, Milorad Raicevic, will sustain in the
future.
Answer: ____________________

h. Loss of enjoyment of life in the past.

Answer: ____________________
i. Loss of enjoyment of life that, in reasonable probability, Milorad Raicevic will sustain in the
future.
Answer: ____________________
                                                                                                     Commented [RM133]: Plaintiff’s response: The inclusion
                                                                                                     of these damages are expressly taken from 18 La. Civ. L.
                                                                                                     Treatise, Civil Jury Instructions § 18:1 (3d ed., 2016). Loss
                                                                                                     of enjoyment of life does not have to be separately pled.
                                                                                                     See, e.g. LeBleu v. Safeway Ins. Co. of La., 824 So.2d 422,
                                                                                                     426. (La. App. 3rd Cir. 2002) (“we have been unable to find
                                                                                                     any cases requiring that [loss of enjoyment of life] be
                                                                                                     pleaded as a separate element of general damages”); see
                                                                                                     also Cousin v. River West LP, 2013 WL 2248121, *4 (M.D. La.
                                                                                                     2013) (“the alleged general damages include mental or
                                                                                                     physical pain and suffering, inconvenience, the loss of
                                                                                                     intellectual gratification or physical enjoyment, or other
                                                                                                     losses of life or lifestyle”); see also NTBS Storage and
                                                                                                     Retrieval v. Kardex Systems, Inc., 2001 WL 238110, *2 (N.D.
                                                                                                     Tex. 2001) (“’General damages’ on the other hand, which
                                                                                                     need not be specifically pled, flow naturally and necessarily
                                                                                                     from the wrongful act and are conclusively presumed to
                                                                                                     have be foreseen or contemplated by the party as a
                                                                                                     consequence of his wrongful act.”) (Texas law in accord).
                                                                                                     Commented [BDA134]: Defendants objection to
                                                                                                     subparts h and I as loss of enjoyment of life was not plead.




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Page 12: [1] Commented [BDA11]                    Brigid D. Ashcraft                           10/4/2017 1:23:00 PM
Defendants object to the submission of these statutes on multiple grounds. First, there is no La. Civ. Jury
instruction that suggests that these statutes are proper in a jury charge, nor is there any case law. In fact, the case
law holds that an appropriate jury instruction as to governmental regulations is as follows, “[c]ompliance with
government standards is but one element or item of proof of whether or not a [ person or entity breached a
duty.]” Abadie v. Metropolitan Life Ins. Co., 784 So. 2d 46, 49 (La.App. 5th Cir. 3/28/01). This comports with
Louisiana law that statutory duties are not definitive of civil liability but merely guidelines. Id. Second, these
statutes do not apply to offshore platforms. Third, these statutes do not apply to independent contractor
operators Wood Group, Island Operating, or Shamrock as a matter of law. See United States v. Moss, 2017 WL
4273427 * 6‐7, ___ F.3d __ (5th Cir. 9/27/17); (“BSEE rejected this comment and its proposed language in favor of
a definition limited to lessee/permittee/designated operator responsibility.”); United States v. Black Elk Energy
Offshore Operations, LLC, 2016 WL 1458925 * 6 (E. D. La. 4/14/16) (“For that reason, it is logical that the drafters
of OCSLA may have intended to treat contractors differently from those entities that contracted with the
government for the right to develop resources on the OCS. Even BOEM has made public comments to this effect,
stating in a response to the comments on a proposed rule that it “does not regulate contractors; we regulate
operators.). Similarly, in the context of Civil cases, in Island Operating Co. v. Jewell, No. 6:16‐cv‐00145,
2016 WL 7436665, 2016 U.S. Dist. LEXIS 178071 (W.D. La. Dec. 23, 2016) the Court held OCSLA did not
apply to contractors. Further, in Jewell, the Court held the term “designated operators” was an official
classification on file with the Department of Interior, not a reference to contractors hired by a
leaseholder to man or work on facilities of the leaseholder; Defendants’ Motion in Limine.

Page 12: [2] Commented [RM12]                        Ryan Marlatt                            10/10/2017 12:47:00 PM
Plaintiff’s Response: These federal statutes expressly provide standards applicable to offshore platforms in the
Outer Continental Shelf, and to owners and operators of such platforms, which includes the Defendants. See
separate Memorandum Regarding the Applicability of Federal Statutes on the Issue of Negligence. Further, the
Fifth Circuit and Louisiana Supreme Court have expressly held that federal regulations can be utilized to weigh
whether conduct was reasonable. See separate Memorandum Regarding the Applicability of Federal Statutes on
the Issue of Negligence.



The Moss and Black Elk line of cases cited by Defendants relate to whether contractors may be held jointly and
severally liable for criminal charges for violating certain federal statutes. See, e.g., Moss, 2017 WL 4273427 at *5
(“This provision dictates the obligations of leaseholders and designated operators rather than the criminal liability
of contractors. Its text refers to those parties who are ‘jointly and severally responsible,’ a term of art reserved for
civil rather than criminal liability….The government cites no cases demonstrating support for joint and several
criminal liability.”) (emphasis in original)(citing authorities). That is not the issue here.



The Moss and Black Elk line of cases does not address the regulations’ applicability to safe work, but rather deal
only with the criminal application of the joint and several liability statute specifically.



These regulations, in particular the safe work regulations, are pertinent and should be presented to the jury in the
same manner as Federal Aviation Regulations are presented to the jury in airplane crash cases. See, e.g., Campbell
v. Keystone Aerial Surveys, Inc., 138 F.3d 996 (5th Cir. 1998) (“[w]e see no reason, however, that appellants on
retrial should be precluded from presenting the FARs to the jury as evidence of what a reasonable pilot would have
done under the circumstances. Even if a violation of a regulation does not constitute negligence per se, failure to
comply with a regulation may still provide evidence that the defendant deviated from the applicable standard of
care.”).
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Finally, Defendants’ reliance on Island Operating Co. v. Jewell, No. 6:16‐cv‐00145, 2016 WL 7436665, 2016
U.S. Dist. LEXIS 178071 (W.D. La. Dec. 23, 2016) is misplaced. First, that case does not address all the
statutes pertinent here, which clearly cover owners and operators. Second, the issue there was who the
federal government could penalize for particular statutory violations. Regarding the statute at issue
there, the answer was only the lease‐holder (which in this case would be Defendant Fieldwood). The
case did not hold—and never would dangerously hold—that operators are free to violate such statutes
without it being used as evidence they failed to abide by the reasonable standard of care. The fact that
the government’s enforcement options is targeted to lease‐holders in certain situations does not
absolve platform owners in a civil context when their negligence and failure to abide by safety
regulations severely injures a private citizen who has access to the courts for redress.

Page 19: [3] Commented [RM30]                       Ryan Marlatt                            10/10/2017 1:24:00 PM
Plaintiff objects. Not proper jury instruction and inconsistent with Supreme Court of Louisiana Rule 44 prescribing
mandatory instructions, effective October 14, 2014. See Plaintiff’s Proposed Jury Instruction No. 2 for correct
instruction. Plaintiff further objects as duplicative and prejudicial. No authority for submitting this as an
instruction. In fact, the Watson case, in which the Louisiana Supreme Court reversed a 100% comparative fault
finding against the plaintiff on the basis that the law was “was specifically designed to ameliorate the harshness of
the contributory negligence doctrine by apportioning losses between the plaintiff and defendant when both are
negligent.” Watson, 469 So.2d at 971. The Court further held that “In assessing the nature of the conduct of the
parties, various factors may influence the degree of fault assigned, including: (1) whether the conduct resulted
from inadvertence or involved an awareness of the danger, (2) how great a risk was created by the conduct, (3) the
significance of what was sought by the conduct, (4) the capacities of the actor, whether superior or inferior, and (5)
any extenuating circumstances which might require the actor to proceed in haste, without proper thought.” Id. at
973. The only other cited case decided after comparative fault was adopted is Allen v. Rawlins, 669 So.2d 1282 (La.
4th App. 1996). That case describes how the trial court is to reduce a damages award according to comparative
fault, but does contain any statement reviving contributory negligence as Defendants’ proposed instruction seeks
to do here.

Page 19: [4] Commented [JS32]                      John Sheppard                          10/11/2017 10:40:00 PM
Plaintiff globally objects to this entire instruction as inconsistent with Supreme Court of Louisiana Rule 44
prescribing mandatory instructions, effective October 14, 2014. Supreme Court of Louisiana Rule 44 can be found
at https://www.lasc.org/rules/supreme/RuleXLIV.asp The source from which this is section is obtained, 18 La. Civ.
L. Treatise, Civil Jury Instructions § 5:1, expressly notes how its suggestions are superseded by Rule 44. Based on
the footnotes, this section proposed by Defendants also seems to be an improper amalgamation of other sources. See
Plaintiff’s Proposed Jury Instruction No. 2 for correct instruction, which addresses these issues.

Page 32: [5] Commented [RM63]                       Ryan Marlatt                            10/10/2017 5:04:00 PM
Defendant’s response. Fieldwood pled its entitlement to a defense based upon the workers’ compensation bar to
suit since its original answer andwas gven leaeto amend to proide clarification and an ameded answer was filed. It
was never contended Plaintiff was a general employee of Fieldwood and the identity of his payroll or general
employer has never been disputed. As such, the only way Fieldwood could be entitled to this defense is if Plaintiff
was its borrowed employee. For Plaintiff to now claim he was not on notice of this defense is wholly unjustifiable
and reeks of ambush tactics. Island Operating pled its entitlement to the immunity defense, and also pled
it is not responsible for any acts under the doctrine of respondeat superior. Furthermore, Plaintiff’s cited
authority on this issue does not even examine a particular pleading but merely notes a motion for leave was not
granted. Barnes v. Sundowner, No. 94‐3272, 1995 WL 529867 *2 (E.D. La. Sep. 7, 1995). Futhrmore, while the isue
fo brrowed servnt s a qustion of lawfor the Court the Ruiz factors listed here may cnstitue fact qustions for the
jury. WHe Defnedna's beeive it is likely not all of hese inquires will be submitted to the jury due tot e ranting of
dircted verdicts, to the extentany require factal resolution certain issues may need to be submitted in the jury
charge.
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Page 32: [6] Commented [JS62]                                John Sheppard                                     12/6/2017 11:36:00 AM
Plaintiff further objects to the insertion of these borrowed servant affirmative defense questions in the middle of
questions where the Plaintiff bears the burden of proof. Defendants’ affirmative defense questions should be
presented last and after all questions for which Plaintiff bears the burden of proof, and an instruction that the
burden of proof has switched should be given. Switching questions between those that Plaintiff must prove versus
those the Defendants must prove will cause confusion and will risk jury error.

Page 32: [7] Commented [JS66]                                John Sheppard                                       12/7/2017 5:45:00 PM
If borrowed servant questions are submitted, this instruction as to the burden of proof should be given to avoid
confusion. Further, the jury is entitled to know the effect of their answers regarding borrowed servant questions.
Porche v. Gulf Mississippi Marine Corp., 390 F.Supp. 624, 632 (E.D. La. 1975) (“a jury is entitled to know what effect
its decision will have…The jury is not to be set loose in a maze of factual questions, to be answered without
intelligent awareness of the consequences. One of the purposes of the jury system is to temper the strict
application of law to fact, and thus bring to the administration of justice a commonsense lay approach, a purpose
ill‐served by relegating the jury to a role of determining facts in vacuo, ignorant of the significant of their
findings.”); Gonzalez v. City of Three Rivers, 2013 WL 489179, *3 (S.D. Tex. 2013) (denying motion in limine as to
parties stating the legal effect of the jury’s answers to questions) (“The Fifth Circuit has explained that, unlike
Texas state courts, “federal courts are free to tell juries the effects of their answers.”) (quoting Martin v. Texaco,
726 F.2d 207 (5th Cir. 1984)).

Page 32: [8] Commented [RM68]                                  Ryan Marlatt                                      12/8/2017 9:46:00 AM
Defendants object to this language as not appropriate and informing the jury of the legal effect of its answers. This
reuts is the risj o a results driven ressoen as opposed to one driven by the facts. Further it is no necessarily true
that any one "Yes" answer will brig about the result discussed.

Page 32: [9] Commented [JS69]                                John Sheppard                                     12/6/2017 11:44:00 AM
Plaintiff objects to this question as an incorrect statement of the law as it leaves out the elements of agreement and understanding. It should
read “Do you find from a preponderance of the evidence Fieldwood Energy LLC and Waukesha
Pearce had an agreement, understanding, or meeting of the minds concerning Plaintiff being
under Fieldwood Energy LLC’s employ and not Waukesha Pearce’s employ while on the
Platform?



Page 32: [10] Commented [JS70]                                John Sheppard                                    12/6/2017 11:43:00 AM
Plaintiff objects to this instruction as an incorrect, misleading, and incomplete statement of the law. Courts of
course give considerable weight to written agreements between the parties as to what they agreed. West v. Kerr
McGee Corp, 765 F.2d 526, 531 (5th Cir. 1985). Please see below question submitted by Plaintiff for proper
question on this issue.
